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20      SYSTEMS, INC., SHAWN BENSON; ERIC
        BENSON; AND CORY BENSON
21
22                           IN THE UNITED STATES DISTRICT COURT

23                                     FOR DISTRICT OF ARIZONA
24      Stoer Construction, Inc., a California          Case No. 2:22-cv-00400
25      Corporation,
                                                        AMENDED ANSWER,
26                        Plaintiff,                    AFFIRMATIVE DEFENSES,
        v.                                              COUNTERCLAIMS, AND THIRD-
27                                                      PARTY COMPLAINT OF
28      Benson Security Systems, Inc., an Arizona       DEFENDANTS BENSON


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  1     Corporation; Shawn Benson, an individual;   SECURITY SYSTEMS, INC.,
        Eric Benson, an individual; Cory Benson,    SHAWN BENSON, ERIC BENSON
  2     an individual; and Does 1 through 50,       AND CORY BENSON
  3     inclusive,

  4                      Defendants.
  5     Benson Security Systems, Inc., an Arizona
  6     Corporation; Shawn Benson, an individual;
        Eric Benson, an individual; and Cory
  7     Benson, an individual,
  8
                    Third-Party Plaintiffs.
  9
        v.
10
        Sean Anderson, an individual; Mike Ward,
11      an individual; and BC Holding, LLC, a
12      California Limited Liability Company,

13                 Third-Party Defendants.
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  1                Defendants Benson Security Systems, Inc. (“Benson”), Shawn Benson, Eric
  2     Benson, and Cory Benson (collectively with Benson, the “Defendants”), hereby file this
  3     Amended Answer, Affirmative Defenses and Counterclaims (the “Answer”) to Plaintiff
  4     Stoer Construction, Inc.’s First Amended Complaint [Docket No. 64] (“First Amended
  5     Complaint”). The Defendants answer as follows:
  6                                          I.     ANSWER
  7
                   1.   In response to paragraph 1 of the First Amended Complaint, Defendants lack
  8
        the information to admit or deny the allegations contained therein. To the extent that an
  9
        answer to the allegations in this paragraph is required, Defendants are without knowledge
10
        or information sufficient to form a belief as to the truth of these allegations and therefore
11
        deny each and every allegation.
12
                   2.   In response to paragraph 2 of the First Amended Complaint, Defendants
13
        admit that Benson is a corporation organized and existing under the laws of the State of
14
        Arizona, with a principal place of business at 2065 W. Obispo Avenue, Suite 101, Gilbert,
15
        Arizona 85233. Defendants further admit that Benson is a contractor licensed under the
16
        laws of the State of California, with California license number 795362. Defendants further
17
18      admit that Benson is, and at all times relevant has been, a 47.5% owner and member of

19      Benson Systems of Northern California, LLC (“NorCal”), a California limited liability

20      company with its principal address located at 2065 W. Obispo Avenue, Suite 101, Gilbert,

21      Arizona 85233. Defendants further admit that NorCal filed for Chapter 7 on bankruptcy in
22      the U.S. Bankruptcy Court for the District of Arizona on June 16, 2021. With regard to the
23      remainder of the allegations in paragraph 2 of the First Amended Complaint, Defendants
24      state that the allegations are legal conclusions and therefore an answer to those allegations
25      is neither necessary nor appropriate. To the extent that an answer to the allegations in this
26      paragraph is required, Defendants are without knowledge or information sufficient to form
27      a belief as to the truth of these allegations and therefore denies each and every remaining
28      allegation.

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  1                3.    In response to paragraph 3 of the First Amended Complaint, Defendants
  2     admit that Shawn Benson is an individual residing in the State of Arizona and is the
  3     Founder and Chief Executive Officer of Benson. Defendants deny the remaining
  4     allegations contained therein.
  5                4.    In response to paragraph 4 of the First Amended Complaint, Defendants
  6     admit that Shawn Benson was responsible for top-level supervision, management, and
  7
        operations of NorCal. Defendants deny the remaining allegations contained therein.
  8
                   5.    In response to paragraph 5 of the First Amended Complaint, Defendants deny
  9
        that Eric Benson is the Chief Financial Officer of Benson. Defendants admit that Eric
10
        Benson is an individual residing in the State of Arizona.
11
                   6.    In response to paragraph 6 of the First Amended Complaint, Defendants
12
        admit that Eric Benson was responsible for sales, accounting, and finances of NorCal.
13
        Defendants deny the remaining allegations contained therein.
14
                   7.    In response to paragraph 7 of the First Amended Complaint, Defendants
15
        admit the allegations contained therein.
16
                   8.    In response to paragraph 8 of the First Amended Complaint, Defendants
17
18      admit that Cory Benson was responsible for operations, including, but not limited to, field

19      operations, of NorCal. Defendants deny the remaining allegations contained therein.

20                 9.    In response to paragraph 9 of the First Amended Complaint, Defendants

21      respond that paragraph 9 does not contain any factual allegations to which a response is
22      required. To the extent paragraph 9 contains factual allegations to which a response is
23      required, Defendants are without knowledge or information sufficient to form a belief as
24      to the truth of these allegations and therefore deny each and every allegation.
25                 10.   In response to paragraph 10 of the First Amended Complaint, Defendants
26      state that the allegations are legal conclusions and therefore an answer to those allegations
27      is neither necessary nor appropriate. To the extent that an answer to the allegations in this
28      paragraph is required, Defendants deny each and every allegation.

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  1                11.   In response to paragraph 11 of the First Amended Complaint, to the extent
  2     that the characterization of NorCal as Benson’s “subsidiary” constitutes a legal conclusion,
  3     no response to that legal conclusion is necessary or appropriate. To the extent an answer to
  4     this allegation is required, Defendants deny this allegation. Defendants admit that at all
  5     times relevant to the First Amended Complaint and this Answer, Benson owned 47.5% of
  6     the membership interests in NorCal. BC Holding, LLC (“BC Holding”) a company
  7
        affiliated with Stoer Construction, Inc. (“Plaintiff” or “Stoer”), also owned (and continues
  8
        to own) 45.5% of the membership interests in NorCal at all times relevant to the First
  9
        Amended Complaint and this Answer.
10
                   12.   In response to paragraph 12 of the First Amended Complaint, Defendants
11
        believe that the “allegations” contained therein are actually legal conclusions couched as
12
        allegations; accordingly, no answer to those allegations is necessary or appropriate. To the
13
        extent that an answer to the allegations in this paragraph is required, Defendants deny the
14
        allegations contained therein.
15
                   13.   In response to paragraph 13 of the First Amended Complaint, Defendants
16
        believe that the “allegations” contained therein are actually legal conclusions couched as
17
18      allegations; accordingly, no answer to those allegations is necessary or appropriate. To the

19      extent that an answer to the allegations in this paragraph is required, Defendants deny the

20      allegations contained therein.

21                 14.   In response to paragraph 14 of the First Amended Complaint, Defendants
22      deny the allegations contained therein.
23                 15.   In response to paragraph 15 of the First Amended Complaint, Defendants
24      admit that Benson and NorCal currently share the same principal place of business located
25      at 2065 W. Obispo Avenue, Suite 101, Gilbert, Arizona 85233. Defendants deny that
26      location has been NorCal’s principal place of business at all times relevant to the First
27      Amended Complaint and this Answer.
28

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  1                16.   In response to paragraph 16 of the First Amended Complaint, Defendants
  2     deny the allegations contained therein.
  3                17.   In response to paragraph 17 of the First Amended Complaint, Defendants
  4     deny the allegations contained therein.
  5                18.   In response to paragraph 18 of the First Amended Complaint, Defendants
  6     deny the allegations contained therein.
  7
                   19.   In response to paragraph 19 of the First Amended Complaint, Defendants
  8
        deny the allegations contained therein.
  9
                   20.   In response to paragraph 20 of the First Amended Complaint, Defendants
10
        deny the allegations contained therein.
11
                   21.   In response to paragraph 21 of the First Amended Complaint, Defendants
12
        admit that Benson possesses some of NorCal’s books of account and records. To the extent
13
        not admitted, Defendants deny the allegations in this paragraph.
14
                   22.   In response to paragraph 22 of the First Amended Complaint, Defendants
15
        deny the allegations contained therein.
16
                   23.   In response to paragraph 23 of the First Amended Complaint, Defendants
17
18      believe that the “allegations” contained therein are actually legal conclusions couched as

19      allegations; accordingly, no answer to those allegations is necessary or appropriate. To the

20      extent that an answer to the allegations in this paragraph is required, Defendants deny the

21      allegations contained therein.
22                 24.   In response to paragraph 24 of the First Amended Complaint, Defendants
23      believe that the “allegations” contained therein are actually legal conclusions couched as
24      allegations; accordingly, no answer to those allegations is necessary or appropriate. To the
25      extent that an answer to the allegations in this paragraph is required, Defendants deny the
26      allegations contained therein.
27                 25.   In response to paragraph 25 of the First Amended Complaint, Defendants
28      believe that the “allegations” contained therein are actually legal conclusions couched as

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  1     allegations; accordingly, no answer to those allegations is necessary or appropriate. To the
  2     extent that an answer to the allegations in this paragraph is required, Defendants deny the
  3     allegations contained therein.
  4                26.   In response to paragraph 26 of the First Amended Complaint, Defendants
  5     believe that the “allegations” contained therein are actually legal conclusions couched as
  6     allegations; accordingly, no answer to those allegations is necessary or appropriate. To the
  7
        extent that an answer to the allegations in this paragraph is required, Defendants deny the
  8
        allegations contained therein.
  9
                   27.   In response to paragraph 27 of the First Amended Complaint, Defendants
10
        believe that the “allegations” contained therein are actually legal conclusions couched as
11
        allegations; accordingly, no answer to those allegations is necessary or appropriate. To the
12
        extent that an answer to the allegations in this paragraph is required, Defendants deny the
13
        allegations contained therein.
14
                   28.   In response to paragraph 28 of the First Amended Complaint, Defendants
15
        admit the allegations contained therein.
16
                   29.   In response to paragraph 29 of the First Amended Complaint, Defendants
17
18      admit upon information and belief that Stoer is a California-licensed general contractor that

19      performs general contracting services for various construction projects in California.

20                 30.   In response to paragraph 30 of the First Amended Complaint, Defendants

21      deny the allegations contained therein.
22                 31.   In response to paragraph 31 of the First Amended Complaint, Defendants
23      admit that in January 2018, Sean Anderson and Mike Ward traveled to Benson’s offices in
24      Gilbert, Arizona and met with certain Benson employees, including Shawn Benson, Eric
25      Benson, Cory Benson, and Phil Farber. The remainder of the allegations contained therein,
26      if any, are denied.
27                 32.   In response to paragraph 32 of the First Amended Complaint, Defendants
28      admit the allegations contained therein.

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  1                33.   In response to paragraph 33 of the First Amended Complaint, Defendants
  2     lack the information to admit or deny the allegations contained therein. To the extent that
  3     an answer to the allegations in this paragraph is required, Defendants are without
  4     knowledge or information sufficient to form a belief as to the truth of these allegations and
  5     therefore deny each and every allegation.
  6                34.   In response to paragraph 34 of the First Amended Complaint, Defendants
  7
        lack the information to admit or deny the allegations contained therein. To the extent that
  8
        an answer to the allegations in this paragraph is required, Defendants are without
  9
        knowledge or information sufficient to form a belief as to the truth of these allegations and
10
        therefore deny each and every allegation.
11
                   35.   In response to paragraph 35 of the First Amended Complaint, Defendants
12
        admit that in or around February of 2018, Shawn Benson, Eric Benson, Cory Benson, and
13
        Phil Farber were invited and traveled to San Jose, California and Stoer’s office at 1800
14
        Hamilton Avenue, Suite 130, San Jose, California 95125 and met with Sean Anderson and
15
        Mike Ward. To the extent not admitted, Defendants lack the information to admit or deny
16
        the allegations contained therein. To the extent that an answer to the remaining allegations
17
18      in this paragraph is required, Defendants are without knowledge or information sufficient

19      to form a belief as to the truth of these allegations and therefore deny each and every

20      allegation.

21                 36.   In response to paragraph 36 of the First Amended Complaint, Defendants
22      deny the allegations contained therein. Specifically, Defendants deny that Shawn Benson
23      first proposed the idea of creating a “Benson Northern California enterprise,” to the extent
24      that “enterprise” ultimately became NorCal.
25                 37.   In response to paragraph 37 of the First Amended Complaint, Defendants
26      admit that NorCal was formed on or about July 1, 2018, when Benson, BC Holding, and
27      Phil Farber executed the LLC Operating Agreement for NorCal. Defendants further admit
28      that on July 18, 2018, the Articles of Organization for NorCal were filed with the Secretary

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  1     of State for the State of California. Defendants deny any and all other allegations contained
  2     in this paragraph.
  3                38.   In response to paragraph 38 of the First Amended Complaint, Defendants
  4     deny the allegations contained therein.
  5                39.   In response to paragraph 39 of the First Amended Complaint, Defendants
  6     deny the allegations contained therein.
  7
                   40.   In response to paragraph 40 of the First Amended Complaint, Defendants
  8
        deny the allegations contained therein.
  9
                   41.   In response to paragraph 41 of the First Amended Complaint, Defendants
10
        admit that, at all times relevant to the First Amended Complaint and this Answer, Benson
11
        owned 47.5%; BC Holding owned 45.5%; and Phil Farber owned 7% of NorCal.
12
        Defendants further admit that, upon information and belief, BC Holding is equally owned
13
        by Sean Anderson and Mike Ward. To the extent not admitted, Defendants deny the
14
        allegations contained in this paragraph.
15
                   42.   In response to paragraph 42 of the First Amended Complaint, Defendants
16
        deny the allegations contained therein.
17
18                 43.   In response to paragraph 43 of the First Amended Complaint, Defendants

19      lack the information to admit or deny the allegations contained therein. To the extent that

20      an answer to the allegations in this paragraph is required, Defendants are without

21      knowledge or information sufficient to form a belief as to the truth of these allegations and
22      therefore deny each and every allegation.
23                 44.   In response to paragraph 44 of the First Amended Complaint, Defendants
24      admit that Stoer entered into six written subcontracts with NorCal, which were
25      subsequently replaced. To the extent not admitted, Defendants deny the allegations
26      contained in this paragraph.
27                       a.    In response to paragraph 44a. of the First Amended Complaint,
28                       Defendants admit the allegations contained therein.

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  1                      b.    In response to paragraph 44b. of the First Amended Complaint,
  2                      Defendants admit the allegations contained therein.
  3                      c.    In response to paragraph 44c. of the First Amended Complaint,
  4                      Defendants admit the allegations contained therein.
  5                      d.    In response to paragraph 44d. of the First Amended Complaint,
  6                      Defendants admit the allegations contained therein.
  7
                         e.    In response to paragraph 44e. of the First Amended Complaint,
  8
                         Defendants admit the allegations contained therein.
  9
                         f.    In response to paragraph 44f. of the First Amended Complaint,
10
                         Defendants admit the allegations contained therein.
11
                   45.   In response to paragraph 45 of the First Amended Complaint, Defendants
12
        deny the allegations contained therein.
13
                   46.   In response to paragraph 46 of the First Amended Complaint, Defendants
14
        deny the allegations contained therein.
15
                   47.   In response to paragraph 47 of the First Amended Complaint, Defendants
16
        admit that the subcontracts contained California license number 795362. To the extent not
17
18      admitted, Defendants deny the allegations contained in this paragraph.

19                 48.   In response to paragraph 48 of the First Amended Complaint, Defendants

20      deny the allegations contained therein.

21                 49.   In response to paragraph 49 of the First Amended Complaint, Defendants
22      admit the allegations contained therein.
23                 50.   In response to paragraph 50 of the First Amended Complaint, Defendants
24      admit that California contractor license number 795362 belongs to Benson. To the extent
25      not admitted, Defendants deny the allegations contained in this paragraph.
26                 51.   In response to paragraph 51 of the First Amended Complaint, Defendants
27      lack the information to admit or deny the allegations that, “[i]f Benson Systems of Northern
28      California completed the six Subcontracts, it would have resulted in a minimum $8,250,000

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  1     payment from Stoer to Benson Systems of Northern California.” Therefore, this allegation
  2     is denied. Defendants deny the remainder of the allegations contained in this paragraph.
  3                52.   In response to paragraph 52 of the First Amended Complaint, Defendants
  4     lack the information to admit or deny the allegations contained therein. To the extent that
  5     an answer to the allegations in this paragraph is required, Defendants are without
  6     knowledge or information sufficient to form a belief as to the truth of these allegations and
  7
        therefore deny each and every allegation.
  8
                   53.   In response to paragraph 53 of the First Amended Complaint, Defendants
  9
        admit that the subcontracts contain a provision regarding scope and that the contracts speak
10
        for themselves. To the extent not admitted, Defendants state that the allegations are legal
11
        conclusions and therefore an answer to those allegations is neither necessary nor
12
        appropriate. Therefore, to the extent not admitted, Defendants deny the allegations
13
        contained in this paragraph.
14
                   54.   In response to paragraph 54 of the First Amended Complaint, Defendants
15
        admit that the subcontracts contain a provision regarding price and that the contracts speak
16
        for themselves. To the extent not admitted, Defendants state that the allegations are legal
17
18      conclusions and therefore an answer to those allegations is neither necessary nor

19      appropriate. Therefore, to the extent not admitted, Defendants deny the allegations

20      contained in this paragraph.

21                 55.   In response to paragraph 55 of the First Amended Complaint, Defendants
22      admit that the subcontracts contain a provision regarding payment and that the contracts
23      speak for themselves. To the extent not admitted, Defendants state that the allegations are
24      legal conclusions and therefore an answer to those allegations is neither necessary nor
25      appropriate. Therefore, to the extent not admitted, Defendants deny the allegations
26      contained in this paragraph.
27                 56.   In response to paragraph 56 of the First Amended Complaint, Defendants
28      admit that the subcontracts contain a provision regarding time and that the contracts speak

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  1     for themselves. To the extent not admitted, Defendants state that the allegations are legal
  2     conclusions and therefore an answer to those allegations is neither necessary nor
  3     appropriate. Therefore, to the extent not admitted, Defendants deny the allegations
  4     contained in this paragraph.
  5                57.   In response to paragraph 57 of the First Amended Complaint, Defendants
  6     admit that the subcontracts contain a provision regarding compliance and that the contracts
  7
        speak for themselves. To the extent not admitted, Defendants state that the allegations are
  8
        legal conclusions and therefore an answer to those allegations is neither necessary nor
  9
        appropriate. Therefore, to the extent not admitted, Defendants deny the allegations
10
        contained in this paragraph.
11
                   58.   In response to paragraph 58 of the First Amended Complaint, Defendants
12
        admit that the subcontracts contain a provision regarding attorney’s fees and that the
13
        contracts speak for themselves. To the extent not admitted, Defendants state that the
14
        allegations are legal conclusions and therefore an answer to those allegations is neither
15
        necessary nor appropriate.
16
                   59.   In response to paragraph 59 of the First Amended Complaint, Defendants
17
18      deny the allegations contained therein.

19                 60.   In response to paragraph 60 of the First Amended Complaint, Defendants

20      deny the allegations contained therein.

21                 61.   In response to paragraph 61 of the First Amended Complaint, Defendants
22      deny the allegations contained therein.
23                 62.   In response to paragraph 62 of the First Amended Complaint, Defendants
24      deny the allegations contained therein.
25                 63.   In response to paragraph 63 of the First Amended Complaint, Defendants
26      deny the allegations contained therein.
27                 64.   In response to paragraph 64 of the First Amended Complaint, Defendants
28      deny the allegations contained therein.

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  1                65.   In response to paragraph 65 of the First Amended Complaint, Defendants
  2     lack the information to admit or deny the allegation that Stoer has reassigned the
  3     Subcontracts (as defined in the First Amended Complaint). To the extent that an answer to
  4     this allegation is required, Defendants are without knowledge or information sufficient to
  5     form a belief as to the truth of these allegations and therefore deny this allegation.
  6     Defendants deny the remainder of the allegations contained in this paragraph.
  7
                   66.   In response to paragraph 66 of the First Amended Complaint, Defendants
  8
        deny the allegations contained therein.
  9
                   67.   In response to paragraph 67 of the First Amended Complaint, Defendants
10
        deny the allegations contained therein.
11
                   68.   In response to paragraph 68 of the First Amended Complaint, Defendants
12
        deny the allegations contained therein.
13
                   69.   In response to paragraph 69 of the First Amended Complaint, Defendants
14
        deny the allegations contained therein.
15
                   70.   In response to paragraph 70 of the First Amended Complaint, Defendants
16
        deny the allegations contained therein.
17
18                 71.   In response to paragraph 71 of the First Amended Complaint, Defendants

19      deny the allegations contained therein.

20                 72.   In response to paragraph 72 of the First Amended Complaint, Defendants

21      lack the information to admit or deny the allegations contained therein. To the extent that
22      an answer to the allegations in this paragraph is required, Defendants are without
23      knowledge or information sufficient to form a belief as to the truth of these allegations and
24      therefore deny each and every allegation.
25                 73.   In response to paragraph 73 of the First Amended Complaint, Defendants
26      deny the allegations contained therein.
27                 74.   In response to paragraph 74 of the First Amended Complaint, Defendants
28      lack the information to admit or deny the allegations contained therein. To the extent that

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  1     an answer to the allegations in this paragraph is required, Defendants are without
  2     knowledge or information sufficient to form a belief as to the truth of these allegations and
  3     therefore deny each and every allegation.
  4                75.   In response to paragraph 75 of the First Amended Complaint, Defendants
  5     deny the allegations contained therein.
  6                76.   In response to paragraph 76 of the First Amended Complaint, Defendants
  7
        admit that the Subcontracts (as defined in the First Amended Complaint) contain provisions
  8
        for progress payments and that the contracts speak for themselves. To the extent not
  9
        admitted, Defendants deny the allegations contained in this paragraph.
10
                   77.   In response to paragraph 77 of the First Amended Complaint, Defendants
11
        admit the allegations contained therein.
12
                   78.   In response to paragraph 78 of the First Amended Complaint, Defendants
13
        admit the allegations contained therein.
14
                   79.   In response to paragraph 79 of the First Amended Complaint, Defendants
15
        admit that Stoer demanded $6,267,710.99 from NorCal. With regard to the remainder of
16
        the allegations in this paragraph, Defendants lack the information to admit or deny the
17
18      allegations contained therein. To the extent that an answer to the allegations in this

19      paragraph is required, Defendants are without knowledge or information sufficient to form

20      a belief as to the truth of these allegations and therefore deny each and every allegation.

21                 80.   In response to paragraph 80 of the First Amended Complaint, Defendants
22      admit that NorCal filed a voluntary petition for relief under chapter 7 of Title 11 of the
23      United States Code on June 16, 2021, which gave rise to Case No. 21-04680 in the
24      Bankruptcy Court for the District of Arizona. To the extent not admitted, Defendants deny
25      the allegations in this paragraph.
26
27
28

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  1                                     FIRST CAUSE OF ACTION
  2
          (Recovery of Payments to Unlicensed Contractor Pursuant to California Business
  3                  and Professions Code §7031(b) – Against All Defendants)
  4                81.   In response to paragraph 81 of the First Amended Complaint, Defendants
  5     adopt by reference all of the responses set forth above.
  6                82.   In response to paragraph 82 of the First Amended Complaint, Defendants
  7     admit that Stoer entered into six written subcontracts with NorCal, which were
  8     subsequently replaced.
  9                      a.    In response to paragraph 82 of the First Amended Complaint,
10                       Defendants admit the allegations contained therein.
11                       b.    In response to paragraph 82 of the First Amended Complaint,
12                       Defendants admit the allegations contained therein.
13
                         c.    In response to paragraph 82 of the First Amended Complaint,
14
                         Defendants admit the allegations contained therein.
15
                         d.    In response to paragraph 82 of the First Amended Complaint,
16
                         Defendants admit the allegations contained therein.
17
                         e.    In response to paragraph 82 of the First Amended Complaint,
18
                         Defendants admit the allegations contained therein.
19
                         f.    In response to paragraph 82 of the First Amended Complaint,
20
                         Defendants admit the allegations contained therein.
21
                   83.   In response to paragraph 83 of the First Amended Complaint, Defendants
22
        deny the allegations contained therein.
23
24                 84.   In response to paragraph 84 of the First Amended Complaint, Defendants

25      state that the allegations are legal conclusions and therefore an answer to those allegations

26      is neither necessary nor appropriate. To the extent that an answer to the allegations in this

27      paragraph is required, Defendants deny the allegations contained therein.
28

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  1                85.   In response to paragraph 85 of the First Amended Complaint, Defendants
  2     deny the allegations contained therein.
  3                86.   In response to paragraph 86 of the First Amended Complaint, Defendants
  4     deny the allegations contained therein.
  5                87.   In response to paragraph 87 of the First Amended Complaint, Defendants
  6     deny the allegations contained therein.
  7
                   88.   In response to paragraph 88 of the First Amended Complaint, Defendants
  8
        state that the allegations are legal conclusions and therefore an answer to those allegations
  9
        is neither necessary nor appropriate. To the extent that an answer to the allegations in this
10
        paragraph is required, Defendants deny the allegations contained therein.
11
                                     SECOND CAUSE OF ACTION
12
13                       (Intentional Misrepresentation – Against All Defendants)
                   89.   In response to paragraph 89 of the First Amended Complaint, Defendants
14
15      adopt by reference all of the responses set forth above.

16                 90.   In response to paragraph 90 of the First Amended Complaint, Defendants

17      lack the information to admit or deny the allegations contained therein. To the extent that

18      an answer to the allegations in this paragraph is required, Defendants are without
19      knowledge or information sufficient to form a belief as to the truth of these allegations and
20      therefore deny each and every allegation.
21                 91.   In response to paragraph 91 of the First Amended Complaint, Defendants
22      deny the allegations contained therein.
23                 92.   In response to paragraph 92 of the First Amended Complaint, Defendants
24      admit that Stoer and Benson negotiated regarding the Subcontracts (as defined in the First
25      Amended Complaint). To the extent not admitted, Defendants deny the allegations in this
26      paragraph.
27
28

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  1                93.    In response to paragraph 93 of the First Amended Complaint, Defendants
  2     admit that the subcontracts contained California contractor’s license number 795362. To
  3     the extent not admitted, Defendants deny the allegations in this paragraph.
  4                94.    In response to paragraph 94 of the First Amended Complaint, Defendants
  5     admit that California contractor’s license number 795362 belongs to Benson. To the extent
  6     not admitted, Defendants deny the allegations in this paragraph.
  7
                   95.    In response to paragraph 95 of the First Amended Complaint, Defendants
  8
        deny the allegations contained therein.
  9
                   96.    In response to paragraph 96 of the First Amended Complaint, Defendants
10
        deny the allegations contained therein.
11
                   97.    In response to paragraph 97 of the First Amended Complaint, Defendants
12
        lack the information to admit or deny the allegations contained therein. To the extent that
13
        an answer to the allegations in this paragraph is required, Defendants are without
14
        knowledge or information sufficient to form a belief as to the truth of these allegations and
15
        therefore deny each and every allegation.
16
                   98.    In response to paragraph 98 of the First Amended Complaint, Defendants
17
18      deny the allegations contained therein.

19                 99.    In response to paragraph 99 of the First Amended Complaint, Defendants

20      deny the allegations contained therein.

21                 100.   In response to paragraph 100 of the First Amended Complaint, Defendants
22      deny the allegations contained therein.
23                 101.   In response to paragraph 101 of the First Amended Complaint, Defendants
24      lack the information to admit or deny the allegations contained therein. To the extent that
25      an answer to the allegations in this paragraph is required, Defendants are without
26      knowledge or information sufficient to form a belief as to the truth of these allegations and
27      therefore deny each and every allegation.
28

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  1                102.   In response to paragraph 102 of the First Amended Complaint, Defendants
  2     deny the allegations contained therein.
  3                103.   In response to paragraph 103 of the First Amended Complaint, Defendants
  4     deny the allegations contained therein.
  5                104.   In response to paragraph 104 of the First Amended Complaint, Defendants
  6     deny the allegations contained therein.
  7
                   105.   In response to paragraph 105 of the First Amended Complaint, Defendants
  8
        deny the allegations contained therein.
  9
                   106.   In response to paragraph 106 of the First Amended Complaint, Defendants
10
        deny the allegations contained therein.
11
                   107.   In response to paragraph 107 of the First Amended Complaint, Defendants
12
        deny the allegations contained therein.
13
                   108.   In response to paragraph 108 of the First Amended Complaint, Defendants
14
        deny the allegations contained therein.
15
                   109.   In response to paragraph 109 of the First Amended Complaint, Defendants
16
        deny the allegations contained therein.
17
18                                      THIRD CAUSE OF ACTION

19                         (Negligent Misrepresentation – Against All Defendants)
20                 110.   In response to paragraph 110 of the First Amended Complaint, Defendants
21      adopt by reference all of the responses set forth above.
22                 111.   In response to paragraph 111 of the First Amended Complaint, Defendants
23      lack the information to admit or deny the allegations contained therein. To the extent that
24      an answer to the allegations in this paragraph is required, Defendants are without
25      knowledge or information sufficient to form a belief as to the truth of these allegations and
26      therefore deny each and every allegation.
27
28

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  1                112.   In response to paragraph 112 of the First Amended Complaint, Defendants
  2     deny the allegations contained therein.
  3                113.   In response to paragraph 113 of the First Amended Complaint, Defendants
  4     deny the allegations contained therein.
  5                114.   In response to paragraph 114 of the First Amended Complaint, Defendants
  6     deny the allegations contained therein.
  7
                   115.   In response to paragraph 115 of the First Amended Complaint, Defendants
  8
        admit that the subcontracts contained California license number 795362. To the extent not
  9
        admitted, Defendants deny the allegations contained in this paragraph.
10
                   116.   In response to paragraph 116 of the First Amended Complaint, Defendants
11
        deny the allegations contained therein.
12
                   117.   In response to paragraph 117 of the First Amended Complaint, Defendants
13
        deny the allegations contained therein.
14
                   118.   In response to paragraph 118 of the First Amended Complaint, Defendants
15
        admit that Stoer executed the six written subcontracts with NorCal, which were
16
        subsequently replaced. To the extent not admitted, Defendants deny the allegations
17
18      contained in this paragraph.

19                 119.   In response to paragraph 119 of the First Amended Complaint, Defendants

20      deny the allegations contained therein.

21                 120.   In response to paragraph 120 of the First Amended Complaint, Defendants
22      deny the allegations contained therein.
23                 121.   In response to paragraph 121 of the First Amended Complaint, Defendants
24      deny the allegations contained therein.
25                 122.   In response to paragraph 122 of the First Amended Complaint, Defendants
26      deny the allegations contained therein.
27                 123.   In response to paragraph 123 of the First Amended Complaint, Defendants
28      deny the allegations contained therein.

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  1                124.   In response to paragraph 124 of the First Amended Complaint, Defendants
  2     deny the allegations contained therein.
  3                125.   In response to paragraph 125 of the First Amended Complaint, Defendants
  4     deny the allegations contained therein.
  5                126.   In response to paragraph 126 of the First Amended Complaint, Defendants
  6     deny the allegations contained therein.
  7
                   127.   In response to paragraph 127 of the First Amended Complaint, Defendants
  8
        deny the allegations contained therein.
  9
                   128.   In response to paragraph 128 of the First Amended Complaint, Defendants
10
        deny the allegations contained therein.
11
                   129.   In response to paragraph 129 of the First Amended Complaint, Defendants
12
        deny the allegations contained therein.
13
                   130.   In response to paragraph 130 of the First Amended Complaint, Defendants
14
        deny the allegations contained therein.
15
                                      FOURTH CAUSE OF ACTION
16
17          (Breach of Written Contract – Against Defendant Benson Security Systems and
                                             Does 1-50)
18
                   131.   In response to paragraph 131 of the First Amended Complaint, Defendants
19
        adopt by reference all of the responses set forth above.
20
                   132.   In response to paragraph 132 of the First Amended Complaint, Defendants
21
        admit that Stoer and NorCal entered into a written subcontract for plumbing work, which
22
        was subsequently replaced, and that the contract speaks for itself. To the extent not
23
24      admitted, Defendants deny the allegations contained in this paragraph.

25                 133.   In response to paragraph 133 of the First Amended Complaint, Defendants

26      admit that Stoer and NorCal entered into a written subcontract for plumbing work, which

27      was subsequently replaced, and the contract speaks for itself. To the extent not admitted,
28      Defendants deny the allegations contained in this paragraph.


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  1                134.   In response to paragraph 134 of the First Amended Complaint, Defendants
  2     deny the allegations contained therein.
  3                135.   In response to paragraph 135 of the First Amended Complaint, Defendants
  4     deny the allegations contained therein.
  5                136.   In response to paragraph 136 of the First Amended Complaint, Defendants
  6     deny the allegations contained therein.
  7
                   137.   In response to paragraph 137 of the First Amended Complaint, Defendants
  8
        deny the allegations contained therein.
  9
                   138.   In response to paragraph 138 of the First Amended Complaint, Defendants
10
        admit that Stoer and NorCal entered into a written subcontract for HVAC work, which was
11
        subsequently replaced, and the contract speaks for itself. To the extent not admitted,
12
        Defendants deny the allegations contained in this paragraph.
13
                   139.   In response to paragraph 139 of the First Amended Complaint, Defendants
14
        admit that Stoer and NorCal entered into a written subcontract for HVAC work, which was
15
        subsequently replaced, and the contract speaks for itself. To the extent not admitted,
16
        Defendants deny the allegations contained in this paragraph.
17
18                 140.   In response to paragraph 140 of the First Amended Complaint, Defendants

19      deny the allegations contained therein.

20                 141.   In response to paragraph 141 of the First Amended Complaint, Defendants

21      deny the allegations contained therein.
22                 142.   In response to paragraph 142 of the First Amended Complaint, Defendants
23      deny the allegations contained therein.
24                 143.   In response to paragraph 143 of the First Amended Complaint, Defendants
25      deny the allegations contained therein.
26                 144.   In response to paragraph 144 of the First Amended Complaint, Defendants
27      admit that Stoer and NorCal entered into a written subcontract for fire sprinkler installation
28

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  1     work, which was subsequently replaced, and the contract speaks for itself. To the extent
  2     not admitted, Defendants deny the allegations contained in this paragraph.
  3                145.   In response to paragraph 145 of the First Amended Complaint, Defendants
  4     admit that Stoer and NorCal entered into a written subcontract for fire sprinkler installation
  5     work, which was subsequently replaced, and the contract speaks for itself. To the extent
  6     not admitted, Defendants deny the allegations contained in this paragraph.
  7
                   146.   In response to paragraph 146 of the First Amended Complaint, Defendants
  8
        deny the allegations contained therein.
  9
                   147.   In response to paragraph 147 of the First Amended Complaint, Defendants
10
        deny the allegations contained therein.
11
                   148.   In response to paragraph 148 of the First Amended Complaint, Defendants
12
        deny the allegations contained therein.
13
                   149.   In response to paragraph 149 of the First Amended Complaint, Defendants
14
        deny the allegations contained therein.
15
                   150.   In response to paragraph 150 of the First Amended Complaint, Defendants
16
        admit that Stoer and NorCal entered into a written subcontract for fire alarm installation
17
18      work, which was subsequently replaced, and the contract speaks for itself. To the extent

19      not admitted, Defendants deny the allegations contained in this paragraph.

20                 151.   In response to paragraph 151 of the First Amended Complaint, Defendants

21      admit that Stoer and NorCal entered into a written subcontract for fire alarm installation
22      work, which was subsequently replaced, and the contract speaks for itself. To the extent
23      not admitted, Defendants deny the allegations contained in this paragraph.
24                 152.   In response to paragraph 152 of the First Amended Complaint, Defendants
25      deny the allegations contained therein.
26                 153.   In response to paragraph 153 of the First Amended Complaint, Defendants
27      deny the allegations contained therein.
28

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  1                154.   In response to paragraph 154 of the First Amended Complaint, Defendants
  2     deny the allegations contained therein.
  3                155.   In response to paragraph 155 of the First Amended Complaint, Defendants
  4     deny the allegations contained therein.
  5                156.   In response to paragraph 156 of the First Amended Complaint, Defendants
  6     admit that Stoer and NorCal entered into a written subcontract for the installation of low
  7
        voltage/data communication equipment, which was subsequently replaced, and the
  8
        contract speaks for itself. To the extent not admitted, Defendants deny the allegations
  9
        contained in this paragraph.
10
                   157.   In response to paragraph 157 of the First Amended Complaint, Defendants
11
        admit that Stoer and NorCal entered into a written subcontract for the installation of low
12
        voltage/data communication equipment, which was subsequently replaced, and the
13
        contract speaks for itself. To the extent not admitted, Defendants deny the allegations
14
        contained in this paragraph.
15
                   158.   In response to paragraph 158 of the First Amended Complaint, Defendants
16
        deny the allegations contained therein.
17
18                 159.   In response to paragraph 159 of the First Amended Complaint, Defendants

19      deny the allegations contained therein.

20                 160.   In response to paragraph 160 of the First Amended Complaint, Defendants

21      deny the allegations contained therein.
22                 161.   In response to paragraph 161 of the First Amended Complaint, Defendants
23      deny the allegations contained therein.
24                 162.   In response to paragraph 162 of the First Amended Complaint, Defendants
25      admit that Stoer and NorCal entered into a written subcontract for electrical work, which
26      was subsequently replaced, and the contract speaks for itself. To the extent not admitted,
27      Defendants deny the allegations contained in this paragraph.
28

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  1                163.   In response to paragraph 163 of the First Amended Complaint, Defendants
  2     admit that Stoer and NorCal entered into a written subcontract for electrical work, which
  3     was subsequently replaced, and the contract speaks for itself. To the extent not admitted,
  4     Defendants deny the allegations contained in this paragraph.
  5                164.   In response to paragraph 164 of the First Amended Complaint, Defendants
  6     deny the allegations contained therein.
  7
                   165.   In response to paragraph 165 of the First Amended Complaint, Defendants
  8
        deny the allegations contained therein.
  9
                   166.   In response to paragraph 166 of the First Amended Complaint, Defendants
10
        deny the allegations contained therein.
11
                   167.   In response to paragraph 167 of the First Amended Complaint, Defendants
12
        deny the allegations contained therein.
13
                   168.   In response to paragraph 168 of the First Amended Complaint, Defendants
14
        state that the allegations are legal conclusions and therefore an answer to those allegations
15
        is neither necessary nor appropriate. To the extent that an answer to the allegations in this
16
        paragraph is required, Defendants deny the allegations contained therein.
17
18                                      FIFTH CAUSE OF ACTION

19                                  (Negligence – Against All Defendants)
20                 169.   In response to paragraph 169 of the First Amended Complaint, Defendants
21      adopt by reference all of the responses set forth above.
22                 170.   In response to paragraph 170 of the First Amended Complaint, Defendants
23      state that the allegations are legal conclusions and therefore an answer to those allegations
24      is neither necessary nor appropriate. To the extent that an answer to the allegations in this
25      paragraph is required, Defendants are without knowledge or information sufficient to form
26      a belief as to the truth of these allegations and therefore denies each and every allegation.
27
28

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  1                171.   In response to paragraph 171 of the First Amended Complaint, Defendants
  2     deny the allegations contained therein.
  3                172.   In response to paragraph 172 of the First Amended Complaint, Defendants
  4     deny the allegations contained therein.
  5                173.   In response to paragraph 173 of the First Amended Complaint, Defendants
  6     deny the allegations contained therein.
  7
                                        SIXTH CAUSE OF ACTION
  8
              (Violation of California Business and Professions Code § 17200 – Against All
  9                                            Defendants)
10                 174.   In response to paragraph 174 of the First Amended Complaint, Defendants
11      adopt by reference all of the responses set forth above.
12                 175.   In response to paragraph 175 of the First Amended Complaint, Defendants
13
        deny the allegations contained therein.
14
                   176.   In response to paragraph 176 of the First Amended Complaint, Defendants
15
        deny the allegations contained therein.
16
                   177.   In response to paragraph 177 of the First Amended Complaint, Defendants
17
        deny the allegations contained therein.
18
                                      SEVENTH CAUSE OF ACTION
19
20       (Breach of the Covenant of Good Faith and Fair Dealing – Against All Defendants)

21                 178.   In response to paragraph 178 of the First Amended Complaint, Defendants

22      adopt by reference all of the responses set forth above.

23                 179.   In response to paragraph 179 of the First Amended Complaint, Defendants

24      deny the allegations contained therein.

25                 180.   In response to paragraph 180 of the First Amended Complaint, Defendants
26      deny the allegations contained therein.
27                 181.   In response to paragraph 181 of the First Amended Complaint, Defendants
28      deny the allegations contained therein.

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  1                182.   In response to paragraph 182 of the First Amended Complaint, Defendants
  2     deny the allegations contained therein.
  3                183.   In response to paragraph 183 of the First Amended Complaint, Defendants
  4     deny the allegations contained therein.
  5                184.   In response to paragraph 184 of the First Amended Complaint, Defendants
  6     state that the allegations are legal conclusions and therefore an answer to those allegations
  7
        is neither necessary nor appropriate. To the extent that an answer to the allegations in this
  8
        paragraph is required, Defendants are without knowledge or information sufficient to form
  9
        a belief as to the truth of these allegations and therefore denies each and every allegation.
10
                   185.   In response to paragraph 185 of the First Amended Complaint, Defendants
11
        deny the allegations contained therein.
12
                   186.   In response to paragraph 186 of the First Amended Complaint, Defendants
13
        deny the allegations contained therein.
14
                                       EIGHTH CAUSE OF ACTION
15
16          (Intentional Interference with Contractual Relations – Against All Defendants)

17                 187.   In response to paragraph 187 of the First Amended Complaint, Defendants

18      adopt by reference all of the responses set forth above.
19                 188.   In response to paragraph 188 of the First Amended Complaint, Defendants
20      lack the information to admit or deny the allegations contained therein. To the extent that
21      an answer to the allegations in this paragraph is required, Defendants are without
22      knowledge or information sufficient to form a belief as to the truth of these allegations and
23      therefore deny each and every allegation.
24                 189.   In response to paragraph 189 of the First Amended Complaint, Defendants
25      deny the allegations contained therein.
26                 190.   In response to paragraph 190 of the First Amended Complaint, Defendants
27      deny the allegations contained therein.
28

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  1                191.   In response to paragraph 191 of the First Amended Complaint, Defendants
  2     deny the allegations contained therein.
  3                192.   In response to paragraph 192 of the First Amended Complaint, Defendants
  4     deny the allegations contained therein.
  5                193.   In response to paragraph 193 of the First Amended Complaint, Defendants
  6     deny the allegations contained therein.
  7
                                        NINTH CAUSE OF ACTION
  8
           (Intentional Interference with Prospective Economic Relations – All Defendants)
  9
                   194.   In response to paragraph 194 of the First Amended Complaint, Defendants
10
        adopt by reference all of the responses set forth above.
11
                   195.   In response to paragraph 195 of the First Amended Complaint, Defendants
12
        lack the information to admit or deny the allegations contained therein. To the extent that
13
        an answer to the allegations in this paragraph is required, Defendants are without
14
15      knowledge or information sufficient to form a belief as to the truth of these allegations and

16      therefore deny each and every allegation.

17                 196.   In response to paragraph 196 of the First Amended Complaint, Defendants

18      deny the allegations contained therein.
19                 197.   In response to paragraph 197 of the First Amended Complaint, Defendants
20      deny the allegations contained therein.
21                 198.   In response to paragraph 198 of the First Amended Complaint, Defendants
22      deny the allegations contained therein.
23                 199.   In response to paragraph 199 of the First Amended Complaint, Defendants
24      lack the information to admit or deny the allegations contained therein. To the extent that
25      an answer to the allegations in this paragraph is required, Defendants are without
26      knowledge or information sufficient to form a belief as to the truth of these allegations and
27      therefore deny each and every allegation.
28

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  1                200.   In response to paragraph 200 of the First Amended Complaint, Defendants
  2     deny the allegations contained therein.
  3                201.   In response to paragraph 201 of the First Amended Complaint, Defendants
  4     deny the allegations contained therein.
  5                                    TENTH CAUSE OF ACTION
  6
               (Negligent Interference with Prospective Economic Relations – Against All
  7                                           Defendants)
  8                202.   In response to paragraph 202 of the First Amended Complaint, Defendants
  9     adopt by reference all of the responses set forth above.
10                 203.   In response to paragraph 203 of the First Amended Complaint, Defendants
11      lack the information to admit or deny the allegations contained therein. To the extent that
12      an answer to the allegations in this paragraph is required, Defendants are without
13
        knowledge or information sufficient to form a belief as to the truth of these allegations and
14
        therefore deny each and every allegation.
15
                   204.   In response to paragraph 204 of the First Amended Complaint, Defendants
16
        deny the allegations contained therein.
17
                   205.   In response to paragraph 205 of the First Amended Complaint, Defendants
18
        deny the allegations contained therein.
19
                   206.   In response to paragraph 206 of the First Amended Complaint, Defendants
20
        deny the allegations contained therein.
21
                   207.   In response to paragraph 207 of the First Amended Complaint, Defendants
22
        deny the allegations contained therein.
23
24                 208.   In response to paragraph 208 of the First Amended Complaint, Defendants

25      deny the allegations contained therein.

26                 209.   In response to paragraph 209 of the First Amended Complaint, Defendants

27      deny the allegations contained therein.
28

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  1                                          PRAYER FOR RELIEF
  2                210.   Defendants deny that Plaintiff is entitled to any relief, including the relief
  3     sought in subsections (1)-(8) of its Prayer for Relief.
  4                                   II.     AFFIRMATIVE DEFENSES
  5                211.   Pursuant to Rule 8 of the Federal Rules of Civil Procedure, Defendants set
  6     forth the following defenses, reserving the right to amend this Answer and/or add
  7
        additional defenses as allowed by law. Each of the following defenses is stated as a separate
  8
        and distinct defense, in the alternative to, and without waiving, any of the other defenses
  9
        which are in this Answer or which may be pleaded later:
10
                   212.   Plaintiff’s claims are barred, in whole or in part, because Plaintiff has not
11
        sustained any injury or damage by reason of any act or omission of Defendants.
12
                   213.   Plaintiff’s claims are barred, in whole or in part, by the doctrine of novation.
13
                   214.   Plaintiff’s claims are barred, in whole or in part, by the doctrine of rescission.
14
                   215.   Plaintiff’s claims are barred, in whole or in part, due to Plaintiff’s
15
        anticipatory breach of the contracts upon which Plaintiff bases its claims.
16
                   216.   Plaintiff’s claims are barred, in whole or in part, due to Plaintiff’s own breach
17
18      of and/or failure to perform under the contracts upon which Plaintiff bases its claims.

19                 217.   Plaintiff’s claims are barred, in whole or in part, by the doctrines of waiver,

20      consent, estoppel, laches, and/or unclean hands.

21                 218.   Plaintiff’s claims are barred, in whole or in part, by the doctrine of
22      contributory negligence.
23                 219.   Plaintiff’s claims are barred, in whole or in part, by the doctrine of
24      assumption of risk.
25                 220.   Plaintiff’s claims are barred, in whole or in part, due to Plaintiff’s fraud
26      and/or fraud in the inducement.
27
28

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  1                221.     Plaintiff’s claims are barred, in whole or in part, due to Plaintiff’s failure to
  2     join Benson Systems of Northern California, LLC, as an indispensable party to this action
  3     pursuant to Federal Rule of Civil Procedure 19.
  4                222.     Plaintiff’s claims are barred, in whole or in part, because Defendants are not
  5     a party to the contracts upon which Plaintiff bases its claims.
  6                223.     Plaintiff’s claims are barred, in whole or in part, because Plaintiff lacks
  7
        standing to bring this suit, as its claims belong to Benson Systems of Northern California,
  8
        LLC (or the bankruptcy estate thereof).
  9
                   224.     Plaintiff’s claims are barred, in whole or in part, because assuming,
10
        arguendo, that any contractual duties exist between Plaintiff and Defendants, Defendants
11
        performed all duties owed other than any duties which were prevented or excused.
12
                   225.     Plaintiff’s claims are barred, in whole or in part, due to Plaintiff’s failure to
13
        mitigate its alleged damages.
14
                   226.     Plaintiff’s claims are barred, in whole or in part, by the doctrine of equitable
15
        estoppel.
16
                     III.      COUNTERCLAIMS AND THIRD-PARTY COMPLAINT
17
18                 227.     Defendants assert the following counterclaims against Stoer and assert the

19      following third-party claims against the third-party defendants Anderson, Ward, and BC

20      Holding pursuant to Federal Rules of Civil Procedure 13 and 14. The counterclaims and

21      third-party complaint are collectively referred to as the “Counter Complaint.”
22                                                      (Parties)
23                 228.     Plaintiff/counter-defendant Stoer is a California corporation that maintains
24      its principal place of business at 1800 Hamilton Avenue, Suite 230, San Jose, California
25      95125. Stoer has already appeared herein.
26                 229.     Defendant/counter-plaintiff/third-party plaintiff Benson is an Arizona
27      corporation with its principal place of business at 2065 W. Obispo Avenue, Suite 101,
28      Gilbert, Arizona 85233.

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  1                230.   Defendant/counter-plaintiff/third-party plaintiff Shawn Benson is an
  2     individual residing in the state of Arizona.
  3                231.   Defendant/counter-plaintiff/third-party plaintiff Eric Benson is an individual
  4     residing in the state of Arizona.
  5                232.   Defendant/counter-plaintiff/third-party   plaintiff   Cory   Benson    is   an
  6     individual residing in the state of Arizona.
  7
                   233.   Third-party defendant Sean Anderson (“Anderson”) is an individual
  8
        residing in the state of California. Anderson can be served at his place of business, 1800
  9
        Hamilton Avenue, Suite 230, San Jose, California 95125, or wherever he may be found.
10
                   234.   Third-party defendant Mike Ward (“Ward”) is an individual residing in the
11
        state of California. Ward can be served at his place of business, 1800 Hamilton Avenue,
12
        Suite 230, San Jose, California 95125, or wherever he may be found.
13
                   235.   Third-party defendant BC Holding is a California limited liability company
14
        with its principal place of business at 1800 Hamilton Avenue, Suite 230, San Jose,
15
        California 95125. BC Holding can be served with process via its registered agent,
16
        Anderson, at 1800 Hamilton Avenue, Suite 230, San Jose, California 95125, or wherever
17
18      he may be found. BC Holding is owned by third-party defendants Anderson and Ward.

19      Alter Ego

20                 236.   Defendants are informed, believe, and allege that BC Holding never had, and

21      does not now have, a genuine and separate corporate existence apart from Stoer, Anderson,
22      and Ward.
23                 237.   Defendants are informed, believe, and allege that BC Holding and Stoer,
24      Anderson, and Ward acted as a single enterprise with a unity of interest, common business
25      purpose, and unity of ownership such that the separate personalities of BC Holding, Stoer,
26      Anderson, and Ward are merged, indistinguishable, and do not exist.
27                 238.   Defendants are informed, believe, and allege that Anderson and Ward, the
28      principals of Stoer, are, and at all times herein were, the majority owners of BC Holding.

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  1                239.   Defendants are informed, believe, and allege that Stoer and BC Holding
  2     share the same principal offices, located at 1800 Hamilton Avenue, Suite 230, San Jose,
  3     California 95125.
  4                240.   Defendants are informed, believe, and allege that at all times relevant Stoer
  5     and BC Holding shared the same directors, officers, and/or principals responsible for
  6     supervision and management of the respective entities, including Anderson and Ward.
  7
                   241.   Defendants are informed, believe, and allege that at all times relevant Stoer
  8
        and BC Holding employed the same employees, including Anderson and Ward.
  9
                   242.   Defendants are informed, believe, and allege that at all times relevant BC
10
        Holding shared the management and services of Stoer, including, but not limited to, legal,
11
        human resources, payroll, accounting, collections, administration, procurement of labor,
12
        employment, and equipment and use of Stoer’s property and infrastructure.
13
                   243.   Defendants are informed, believe, and allege that at all times relevant Stoer,
14
        Anderson, and Ward, by virtue of Stoer’s principals, Anderson and Ward’s ownership of
15
        BC Holding, were responsible for the day-to-day management and operations of BC
16
        Holding, including, but not limited to, approval of all contracts and bill payments.
17
18                 244.   Defendants are informed, believe, and allege that at all times relevant Stoer,

19      Anderson, and Ward caused BC Holding to fail to observe corporate formalities, including

20      board meetings, maintenance of minutes, and/or adequate corporate records.

21                 245.   Defendants are informed, believe, and allege that at all times relevant Stoer,
22      Anderson, Ward, and BC Holding commingled funds and other assets and failed to
23      segregate funds thereof.
24                 246.   Defendants are informed, believe, and allege that if the conduct and acts of
25      BC Holding are treated as those of BC Holding alone, an inequitable result will follow and
26      will result in fraud and/or injustice to Defendants. Defendants are informed, believe, and
27      allege that at all times relevant BC Holding was a shell company through which Stoer,
28      Anderson, and Ward fraudulently conducted business in California. Defendants are

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  1     informed, believe, and allege that BC Holding has in fact been used and exists for the sole
  2     purpose of enabling Stoer, Anderson, and Ward to wrongfully transact a portion of their
  3     business under an alternate corporate guise and as a conduit for a single venture.
  4                247.   Defendants are informed, believe, and allege that BC Holding is inadequately
  5     capitalized and/or undercapitalized such that BC Holding would be unable to pay monies
  6     due and owing to Defendants for the acts and misconduct alleged herein.
  7
                   248.   Defendants are informed, believe, and allege that any funds or other assets
  8
        of BC Holding have been diverted to Stoer, Anderson, and/or Ward.
  9
                   249.   Defendants are informed, believe, and allege that Stoer, Anderson, and Ward
10
        used BC Holding as a subterfuge of illegal and/or fraudulent transactions, including
11
        subcontracting with themselves (thereby double or even triple dipping, unbeknownst to
12
        parties with whom they prime contracted) and endeavoring to convince parties to do work
13
        on their projects only to later refuse to pay for said work, which has caused, and continues
14
        to cause, Defendants millions of dollars in damages—as described herein.
15
                   250.   Stoer, Anderson, and Ward, as the principals and alter egos of BC Holding,
16
        have been and are conducting, managing, and controlling the affairs of BC Holding. Stoer,
17
18      Anderson, and Ward have used the separate corporate identity of BC Holding as a shell

19      company for their own unjust and fraudulent enrichment, all while attempting to shield

20      themselves from prospective liability. Recognizing the privilege of separate existence

21      between BC Holding and Stoer, Anderson, and Ward would promote injustice, as Stoer,
22      Anderson, and Ward organized and controlled BC Holding such that it is now, and at all
23      relevant times was, merely an instrumentality, agency, joint venture, conduit, or adjunct of
24      Stoer, Anderson, and Ward, and Stoer, Anderson, and Ward in bad faith, dominated and
25      controlled BC Holding as set forth below.
26                                                   (Facts)
27                 251.   From approximately 2010 until the present day, Benson operated – pursuant
28      to a valid California contractor’s license – through a branch office located near San Diego,

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  1     California. As such, Benson has provided in California, as a subcontractor, certain vital
  2     facility services, including electrical, mechanical, plumbing, information technology,
  3     security and access, and fire-life safety services. Prior to 2017, most of Benson’s
  4     subcontractor services were located in southern California, because of its San Diego
  5     branch. Nevertheless, as detailed herein, Benson itself:
  6                •      Performed all of the work at issue in this lawsuit.
  7
                   •      With only a few exceptions, was paid with checks issued to Benson for that
  8
                          work.
  9
        Plaintiff’s allegations of “unlicensed” subcontractor performing work in California have
10
        been manufactured out of nearly wholecloth. Accordingly, Plaintiff’s lawsuit at its very
11
        core is grounded in years of subterfuge, fraud, deception, and manipulation by Stoer,
12
        Anderson, and Ward to get millions of dollars worth of work by Benson for nothing.
13
                   252.   This subterfuge appears to have begun in or around December 2017, when
14
        Benson and Stoer, through its two principals, Anderson and Ward, were introduced to each
15
        other through a mutual business contact that requested Benson to get involved in a project
16
        where Stoer was construction manager. Thereafter, Stoer, Anderson, and Ward began
17
18      meeting with Benson and suggesting ways for Benson to expand its presence in northern

19      California, where Stoer operated as a general contractor.

20                 253.   On or about January 24, 2018, Anderson and Ward invited Shawn Benson

21      and Phil Farber to dinner at Fleming’s Prime Steakhouse & Wine Bar in San Jose,
22      California. Shawn Benson and Phil Farber attended that dinner.
23                 254.   On or about February 1, 2018, Anderson and Ward, on behalf of Stoer,
24      traveled to Benson’s offices in Arizona, to (purportedly) explore a more definitive potential
25      business relationship between Benson and Stoer. At that time, Benson viewed the
26      relationship as an opportunity to expand its existing business into northern California—
27      Stoer could bring Benson in to serve as a subcontractor on projects where Stoer was general
28

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  1     contractor. That ongoing relationship with Stoer constituted business development and an
  2     opportunity to obtain help marketing Benson in northern California.
  3                255.   On or about February 15, 2018, Shawn Benson, Eric Benson, Cory Benson,
  4     and Phil Farber, on behalf of Benson, were invited to Stoer’s offices in San Jose, California,
  5     to continue discussing the relationship between the two companies. At this point, Ward and
  6     Anderson expressed only a potential desire to work directly with Benson, which was
  7
        licensed in California (and had been for many years).
  8
        The NorCal Ruse
  9
                   256.   Years later, the documents, facts, and even an admission by Third-Party
10
        Defendants, establish a carefully planned and executed ruse to take advantage of Benson
11
        in every way possible. That ruse includes lies, deception, and manipulated documents
12
        and*.pdfs, as set forth herein. This litigation is simply the intended “gotcha” at the end of
13
        the ruse that began on January 24, 2018 at a now-infamous dinner at Flemings during which
14
        Anderson and Ward pitched a proposal to Benson that instead of subcontracting directly
15
        with Benson, the parties would create what was effectively a joint venture—a new
16
        California entity that would be owned jointly by Benson and another new entity that
17
18      Anderson and Ward intended to create. The idea Ward and Anderson proposed behind this

19      joint venture (the “NorCal Plan”), which ultimately would be NorCal, was that the new

20      California entity would bid for subcontractor work on projects where Stoer served as

21      general contractor; however, the new California entity would not be a direct subsidiary of
22      Stoer.
23                 257.   The potential benefits to Stoer were obvious. Stoer, Anderson, and Ward
24      knew they would be able to take advantage of Benson’s considerable resources and
25      capabilities to actually perform work that Stoer itself did not have, while also ensuring that
26      NorCal successfully bid for (and was awarded) lucrative contracts on Stoer’s projects. With
27      ownership interests in both the general contractor (Stoer) and subcontractor (NorCal),
28

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  1     Anderson and Ward positioned themselves to make money at two different levels of the
  2     same project.
  3                258.   To the owners of Benson, Anderson and Ward appeared to offer a reputable
  4     general contractor in Stoer that would allow Benson to get opportunities on projects in
  5     Northern California that it might not have otherwise. While ceding part of the profits of
  6     NorCal to Anderson and Ward (through their newly created entity owning part of NorCal)
  7
        was not ideal, giving up a percentage of something was preferable to getting one-hundred
  8
        percent of nothing (from not getting the jobs in the first place). Recognizing that this might
  9
        have been Benson’s only opportunity to guarantee the relationship with Stoer, Benson
10
        agreed to the NorCal Plan.
11
                   259.   On or about March 21, 2018, Anderson, Ward, and Stoer took the first step
12
        in furtherance of the NorCal Plan, filing Articles of Organization for BC Holding with the
13
        Secretary of State for California.
14
                   260.   Two days later, on or about March 23, 2018, Anderson and Ward, the
15
        principals of Stoer, executed the Operating Agreement for BC Holding 1. Upon information
16
        and belief, the only purpose for the existence of BC Holding was to participate in the
17
18      ownership of (what would become) NorCal.

19                 261.   The NorCal Plan was a fraud. As detailed herein, Anderson and Ward never

20      intended that BC Holdings would follow through on their promises to fund or support

21      NorCal as a real venture.
22      The Element Project
23                 262.   The first opportunity to put Stoer, Anderson, and Ward’s NorCal Plan into
24      practice came in the form of a northern California hotel construction project called
25      “Element,” owned by a company called LD Milpitas Property, LLC (“Owner”). Upon
26
27      1
         A true and correct copy of the NorCal Operating Agreement is attached hereto as Exhibit
28      1.

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  1     information and belief, around the same time that Stoer, Anderson, and Ward were
  2     proposing the NorCal Plan to Benson (in late 2017), Stoer had been awarded the general
  3     contractor job on the Element project.
  4                263.   Around the same time, Anderson and Ward, on behalf of themselves, BC
  5     Holding, and Stoer, approached Benson about using the entity that would become NorCal
  6     to bid for the plumbing, HVAC, fire sprinkler, fire alarm, low-voltage data
  7
        communications, and electrical systems contracts on the Element project (and other
  8
        projects). Finding the potential of a project the size of the Element job attractive, Benson
  9
        agreed.
10
                   264.   On or about June 22, 2018, Stoer executed the Prime Contract for Element
11
        with the Owner.
12
                   265.   A little over a week later, on or about July 1, 2018, Benson, BC Holding, and
13
        Phil Farber (a Benson employee that would serve as project director, or the “boots on the
14
        ground” for NorCal in the Element project) continued moving Stoer, Anderson, and Ward’s
15
        scheme forward by executing the Operating Agreement for NorCal—the entity through
16
        which Stoer was going to increase its profit on the Element project (and, potentially, other
17
18      projects in the future).

19                 266.   Under the terms of the NorCal Operating Agreement, NorCal’s profits on the

20      Element project would be split as follows: 47.5% to Benson, 45.5% to BC Holding, and

21      7% to Phil Farber. Ex. 1 at Sect. IV and Exhibit 1. The creation of NorCal put the last piece
22      in Stoer, Anderson, and Ward’s NorCal Plan in place.
23
24
25
26
27
28

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  1                267.   A visual of the ownership structure of NorCal is as follows:
  2
  3
  4
  5
  6
  7
  8
  9
10
11
                   268.   BC Holding represented to Benson in the NorCal Operating Agreement that
12
        BC Holding would contribute to NorCal initial paid-in capital in the amount of $200,000.
13
        Ex. 1 at Sect. III and Exhibit 2. BC Holding, Anderson, and Ward never performed this
14
        obligation to capitalize NorCal, and later made statements establishing they never intended
15
        to provide the $200,000 to capitalize NorCal.
16
                   269.   Relying on the representations of Stoer, BC Holding, Anderson, and Ward
17
18      that they were committed to the NorCal Plan (which later they made clear was a lie), on or

19      about July 18, 2018, Benson caused the Articles of Organization for NorCal to be filed

20      with the Secretary of State for California.

21                 270.   Beginning in March 2018 and continuing through August 2018, Benson
22      began working on estimates for the Element project while Stoer and Benson negotiated the
23      terms of potential subcontracts. On or about August 13, 2018, Benson and Stoer executed
24      a Letter of Intent for Subcontract Agreement regarding the Element project. Negotiations
25      regarding the actual subcontracts continued into September 2018.
26                 271.   On or about September 21, 2018, Anderson first requested that Benson
27      and/or NorCal obtain bonds concerning the subcontracted work on the Element project.
28      Benson was shocked. Bonding had not previously been a requirement in the bidding

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  1     process, and neither Benson nor NorCal had agreed to obtain bonds for the subcontracted
  2     work. Because NorCal was a newly created entity, obtaining bonding for it was highly
  3     challenging. Regardless, Benson employees took steps to determine how NorCal might
  4     obtain appropriate bonds for the subcontracted work at the NorCal level. Specifically, on
  5     or about September 24, 2018, Eric Benson began inquiring with Benson’s bonding
  6     company whether bonds would be available for NorCal and how much that bonding might
  7
        cost. Later the same day, Eric Benson requested actual contracts from Anderson on the
  8
        Element project for use in the bonding process.
  9
                   272.   On or about September 24, 2018, Anderson and Ward caused Stoer to extend
10
        a written offer to NorCal for the plumbing work at the Element project (the “Original
11
        Plumbing Subcontract”). 2 Pursuant to the Original Plumbing Subcontract, NorCal would
12
        install plumbing at the Element project in consideration for Stoer’s payment of $2,500,000.
13
        Stoer and NorCal executed the Original Plumbing Subcontract. The California contractor’s
14
        license number listed on the Original Plumbing Subcontract belonged to Benson.
15
                   273.   On or about October 8, 2018, Anderson and Ward caused Stoer to extend a
16
        written offer to NorCal for the HVAC system work at the Element project (the “Original
17
18      HVAC Subcontract”). 3 Pursuant to the Original HVAC Subcontract, NorCal would

19      install an HVAC system at the Element project in consideration for Stoer’s payment of

20      $2,100,000. Stoer and NorCal executed the Original HVAC Subcontract. The California

21      contractor’s license number listed on the Original HVAC Subcontract belonged to Benson.
22                 274.   Also on or about October 8, 2018, Anderson and Ward caused Stoer to extend
23      a written offer to NorCal for the fire sprinkler and/or fire suppression system work at the
24
25      2
          A true and correct copy of the Original Plumbing Subcontract is attached hereto as
26      Exhibit 2.
27
        3
          A true and correct copy of the Original HVAC Subcontract is attached hereto as Exhibit
        3.
28

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  1     Element project (the “Original Fire Sprinkler Subcontract”). 4 Pursuant to the Original
  2     Fire Sprinkler Subcontract, NorCal would install a fire sprinkler or fire suppression system
  3     at the Element project in consideration for Stoer’s payment of $300,000. Stoer and NorCal
  4     executed the Original Fire Sprinkler Subcontract. The California contractor’s license
  5     number listed on the Original Fire Sprinkler Subcontract belonged to Benson.
  6                275.   On or about October 9, 2018, Anderson and Ward caused Stoer to extend a
  7
        written offer to NorCal for the fire alarm system work at the Element project (the “Original
  8
        Fire Alarm Subcontract”). 5 Pursuant to the Original Fire Alarm Subcontract, NorCal
  9
        would install a fire alarm system at the Element project in consideration for Stoer’s
10
        payment of $200,000. Stoer and NorCal executed the Original Fire Alarm Subcontract. The
11
        California contractor’s license number listed on the Original Fire Alarm Subcontract
12
        belonged to Benson.
13
                   276.   Also on or about October 9, 2018, Anderson and Ward caused Stoer to extend
14
        a written offer to NorCal for the low-voltage data communication work at the Element
15
        project (the “Original LV Subcontract”). 6 Pursuant to the Original LV Subcontract,
16
        NorCal would install a low voltage data communication system at the Element project in
17
18      consideration for Stoer’s payment of $200,000. Stoer and NorCal executed the Original

19      LV Subcontract. The California contractor’s license number listed on the Original LV

20      Subcontract belonged to Benson.

21                 277.   On or about October 17, 2018, Anderson and Ward caused Stoer to extend a
22      written offer to NorCal for the electrical system work at the Element project (the “Original
23      Electrical Subcontract,” collectively with the Original Plumbing Subcontract, Original
24
        4
          A true and correct copy of the Original Fire Sprinkler Subcontract is attached hereto as
25      Exhibit 4.
26      5
          A true and correct copy of the Original Fire Alarm Subcontract is attached hereto as
        Exhibit 5.
27      6
          A true and correct copy of the Original LV Subcontract is attached hereto as Exhibit 6.
28

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  1     HVAC Subcontract, Original Fire Sprinkler Subcontract, Original Fire Alarm Subcontract,
  2     and Original LV Subcontract, the “Original Subcontracts”). 7 Pursuant to the Original
  3     Electrical Subcontract, NorCal would install an electrical system at the Element project in
  4     consideration for Stoer’s payment of $2,950,000. Stoer and NorCal executed the Original
  5     Electrical Subcontract. The California contractor’s license number listed on the Original
  6     Electrical Subcontract belonged to Benson.
  7
                   278.   All the owners of NorCal—Benson, BC Holding, Anderson, and Ward—and
  8
        Stoer were aware that the California contractor’s license number listed on each of the
  9
        Original Subcontracts belonged to Benson, not NorCal.
10
                   279.   All the owners of NorCal—Benson, BC Holding, Anderson, and Ward—and
11
        Stoer understood that whoever performed the subcontracted work for the Element project
12
        needed a valid California contractor’s license.
13
                   280.   All the owners of NorCal—Benson, BC Holding, Anderson, and Ward—and
14
        Stoer understood that NorCal did not have a valid California contractor’s license.
15
                   281.   As a result of NorCal’s lack of a valid California contractor’s license, the
16
        initial drafts of the Original Subcontracts included Benson itself as the subcontractor with
17
18      Benson’s California contractor’s license number listed next to the signature lines. The

19      California contractor’s license number listed on the Original Subcontracts, which belonged

20      to Benson, was not changed when Benson’s name was changed to that of NorCal on the

21      Original Subcontracts before execution. At all times, Stoer was aware that the California
22      contractor’s license reflected on all of the Original Subcontracts belonged to Benson, not
23      NorCal.
24                 282.   Despite impediments, Benson caused NorCal, on or about November 20,
25      2018, to file its own application to obtain a California contractor’s license. All the owners
26
27      7
         A true and correct copy of the Original Electrical Subcontract is attached hereto as Exhibit
28      7.

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  1     of NorCal—Benson, BC Holding, Anderson, and Ward—and Stoer were aware that
  2     NorCal had begun this process and was working on it diligently.
  3                283.   Also, beginning in late September 2018, Benson and NorCal continued
  4     working to obtain bonds for NorCal on the Element project at the request of Stoer,
  5     Anderson, and Ward. Through early 2019 this process began to involve significant requests
  6     for information from NorCal and, because NorCal was a brand-new entity, the owners and
  7
        members thereof.
  8
                   284.   Then, NorCal was notified of an issue that made it clear it was not going to
  9
        obtain a California contractor’s license. On or about March 27, 2019, Benson and NorCal
10
        were informed that in order for NorCal to receive a California contractor’s license,
11
        Benson’s pre-existing license would have to be inactivated. Because Benson had other
12
        active jobs in California, inactivating Benson’s contractor’s license was not possible. Stoer,
13
        Anderson, and Ward agreed to Benson—not NorCal—directly fulfilling the subcontracts.
14
                   285.   Accordingly, in or around March 2019, Benson, NorCal, Stoer, and the
15
        principals of each began discussing replacing the Original Subcontracts with new
16
        subcontracts by and between Stoer and Benson. All parties involved recognized that they
17
18      could not proceed under the Original Subcontracts because none of the parties could

19      present an unlicensed entity (i.e., NorCal) to the permitting authorities. Accordingly, Stoer

20      agreed, and thereafter (as detailed herein) sent replacement contracts to Benson.

21                 286.   Because Stoer, Ward, and Anderson had already agreed and understood that
22      Benson was actually going to perform the work on the Element project (because Benson
23      had a valid California contractor’s license), replacement contracts were merely intended to
24      clean up the documentation. In fact, by way of example, the very first invoice generated on
25      the Element project to Stoer was generated by Benson as reflected below:
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                   287.   Correspondingly, the very first check written by Stoer on account of that
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        invoice (and other invoices) was written to Benson as reflected below:
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22                 288.   Accordingly, from the outset, Stoer, Anderson, and Ward knew and
23      understood that Benson was actually performing the work on the Element project. This
24
        pattern—Benson invoices Stoer directly, Stoer pays Benson directly—would continue
25
        through the final payment received by Benson from Stoer in July 2020, as reflected in final
26
        check reflected below:
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28

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12                 289.   With a single exception, all checks written by Stoer on account of the
13      subcontracts on the Element project were written directly to Benson, not NorCal.
14                 290.   Since Stoer handled all permits, submittals to the Owner, etc., these payments
15      were consistent with reality. NorCal was incapable of performing any of the work or getting
16      permits, so Benson had to step in. Further, from the perspective of permitting, it was clear
17      to the city—and made clear by Stoer as the general contractor—that Benson was doing the
18      work under its permit, as the city would have never issued permits otherwise.
19                 291.   For just one example of the general knowledge of all parties that Benson was
20
        performing the work on the Element project, below is a printout from the Milpitas Fire
21
        Department’s system regarding the fire-alarm work that was conducted on the Element
22
        project, clearly showing that Benson was the contractor performing that work:
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27
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        Similarly, below is an excerpt from a response letter regarding fire-alarm permitting on the
16
        Element project, written by a Benson employee on Benson letterhead to the Milpitas Fire
17
        Department:
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  1     Included with that response letter were drawings of the fire-alarm system generated by
  2     Benson employees bearing the Benson logo, as reflected below:
  3
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11
12      These drawings also include specific information regarding the installing company

13      (contractor, Benson) and the general contractor (Stoer), among others, as reflected below:

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  1                292.   As additional evidence that Stoer knew (and approved) of Benson
  2     performing the work on the Element project, Stoer itself attached this drawing to a
  3     submission to its own architect, The Richardson Design Partnership, in April 2019 as
  4     reflected in the letter below:
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13                 293.   Furthermore, consistent with these permitting and relating documents
14      evidencing that Stoer, the city of Milpitas, the Milpitas Fire Department, and others were
15      aware that Benson was performing the work, the ultimate owner of the Element hotel, a
16      Marriott-branded hotel, was also aware and approved of Benson’s involvement in the
17      project, as reflected in the excerpt of a letter below regarding fire-alarm work:
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  1                294.   In February 2019, Benson began the electrical and HVAC work on the
  2     Element project under its valid California contractor’s license.
  3                295.   While work proceeded, on or about July 26, 2019, Stoer extended an offer to
  4     Benson to perform work on the Element project as evidence by the six (6) new subcontracts
  5     between Stoer and Benson (individually, the “New Plumbing Subcontract,” “New
  6     HVAC Subcontract,” “New Fire Sprinkler Subcontract,” “New Fire Alarm
  7
        Subcontract,” “New LV Subcontract,” and “New Electrical Subcontract” and
  8
        collectively, the “New Subcontracts”) 8 to replace the six (6) Original Subcontracts. 9 The
  9
        only difference between the Original Subcontracts and the New Subcontracts was the
10
        substitution of Benson for NorCal as the subcontractor. All other terms of the subcontracts
11
        remained the same, including, but not limited to, the scope of the work to be performed
12
        under each subcontract and the amount Stoer was obligated to pay for such work.
13
                   296.   On or about July 30, 2019, Eric Benson accepted Stoer’s offer and signed the
14
        New Subcontracts on behalf of Benson. Eric Benson returned executed copies of the New
15
        Subcontracts to Stoer. Stoer’s delivery of the New Subcontracts to Benson and Benson’s
16
        subsequent execution and return of the signed New Subcontracts constituted an offer (by
17
18      Stoer) and acceptance (by Benson). Thereby creating a valid, binding, and enforceable

19      contract.

20                 297.   Moreover, the parties moved forward and operated under the understanding

21      that the New Subcontracts were in place and controlling. In fact, Benson routinely observed
22      Stoer, Anderson, and Ward representing to third-parties that the New Subcontracts were
23      the operative contracts. See, e.g., ¶¶ 302-303 below. Accordingly one of two things must
24
25      8
          True and correct copies of the New Plumbing Subcontract, New HVAC Subcontract, New
26      Fire Sprinkler Subcontract, New Fire Alarm Subcontract, New LV Subcontract, and New
        Electrical Subcontract are attached hereto as Exhibits 8-13, respectively.
27      9
          A true and correct copy of the parties’ July 18-30, 2019 correspondence is attached hereto
28      as Exhibit 14.

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  1     be true, either the New Subcontracts are the operative agreements between Benson and
  2     Stoer or Stoer, Ward, and Anderson induced Benson into signing the New Subcontracts as
  3     part of their scheme to defraud Benson and deprive Benson of the compensation it earned
  4     for work performed on the Element project.
  5                298.   Following the execution of the New Subcontracts, Benson continued to
  6     perform work on the Element project for a period of approximately fifteen (15) months,
  7
        through and including October 2020, continued to issue invoices for work performed, and
  8
        continued to get paid by Stoer. At all times relevant, Benson believed, based on Stoer,
  9
        Anderson, and Ward’s actions, statements, and payments, that all construction work
10
        performed by Benson was pursuant to the New Subcontracts issued to Benson by Stoer. In
11
        other words, Benson relied on Stoer, Anderson, and Ward acting honestly and in good
12
        faith. Anderson, Ward, BC Holding, and Stoer all knew (for the reasons noted above) that
13
        Benson was itself performing under the New Subcontracts, and that it had to because
14
        NorCal did not have a valid California contractor’s license.
15
                   299.   Throughout Benson’s performance of the contracted-for work on the
16
        Element project, Benson’s employees, particularly Phil Farber, met and communicated
17
18      regularly with Stoer, Anderson, and Ward regarding the status of that project, the work

19      being performed by Benson, and the difficulties faced in that work. Benson employees,

20      particularly Shawn and Eric Benson, also communicated regularly with Stoer, Anderson,

21      and Ward regarding licensure and bonding issues, as well as unpaid billings for work
22      performed by Benson. For example, on or about October 16, 2019, Eric Benson provided
23      an email update to Phil Varni, Stoer’s Director of Operations, regarding the bonding issue.
24                 300.   In September 2019, following execution of the New Subcontracts, Benson
25      began the low-voltage work on the Element project.
26                 301.   In December 2019, following execution of the New Subcontracts, Benson
27      began the fire-alarm work on the Element project.
28

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  1                302.   Benson continued work on the Element project throughout October 2020,
  2     issuing invoices totaling approximately $7.2 million (after application of credits by Benson
  3     to Stoer), of which Stoer paid approximately $5.9 million. Benson used the funds received
  4     from Stoer pursuant to the New Subcontracts to pay legitimate expenses associated with
  5     the Element project, in addition to significant additional funds contributed by Benson for
  6     that purpose. Specifically, though BC Holding never contributed any capital or other funds
  7
        to NorCal (or the Element project) despite its contractual obligations to do so, Benson,
  8
        relying on Stoer, Ward, and Anderson, kept the Element project going by contributing at
  9
        least $2.5 million between late 2018 and late 2020 on account of labor, materials, and other
10
        costs attributable to project delays, cost overruns, and additional overhead. Much of these
11
        costs were caused by Stoer’s mishandling of the Element project from the start.
12
                   303.   Moreover, Anderson has sworn under oath that the subcontracts were
13
        between Stoer and Benson. In connection with the bonding process, on or about January
14
        16, 2020, Anderson, as President & CEO of Stoer, executed affidavits verifying under oath
15
        that the Element subcontracts were with Benson (not NorCal) (i.e., the New Subcontracts).
16
        A portion of one of the affidavits executed by Anderson (concerning the fire-sprinkler
17
18      subcontract) is reflected below:

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                   304.   The signature line, executed by Anderson, for that affidavit is reflected
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        below:
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22
23      This Affidavit is consistent with the truth (albeit a direct contradiction of the allegations
24      set forth in the First Amended Complaint), because Anderson knew by 2020 (and well-
25      before) that NorCal was a new entity, incapable of getting bonding, and incapable of
26      getting a California contractor’s license. This sworn testimony recognized what the parties
27
        knew all along, namely that Benson had done all the work under its California license.
28

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  1     Stoer Admits the NorCal Plan Was a Fraud
  2                305.   On or about July 24, 2020, Benson received the last payment made by Stoer
  3     for work Benson performed at the Element project—a partial payment for prior invoices
  4     generated in March 2020 on the fire alarm and plumbing subcontracts. The last payment
  5     Benson received on the HVAC, electrical, low-voltage data, and electrical subcontracts
  6     occurred in May 2020.
  7
                   306.   Once Stoer stopped making timely payments to Benson—payments were
  8
        required under the subcontracts and California law—Benson inquired with Stoer as to why.
  9
        In response to those inquires, Anderson and Ward, on behalf of themselves and Stoer,
10
        consistently represented to Shawn Benson that there was nothing to worry about, the
11
        applications for payment had been approved, and unpaid billings would be caught up once
12
        Stoer received payment from the Owner. At the same time, Stoer demanded that Benson
13
        continue working to keep the project on track. Committed to what it believed could still be
14
        a successful conclusion to the Element project and relying on Stoer’s representations that
15
        unpaid billings would be paid, Benson continued to perform work subsequent to the July
16
        2020 partial payment. To date, however, Stoer has not compensated Benson for the work
17
18      Benson performed on the Element project. Indeed, Stoer still owes Benson approximately

19      $1.3M for work and retention Benson performed and billed.

20                 307.   Work on the Element project was difficult. Covid had a profound impact on

21      the ability to obtain labor and the cost of the same (e.g., 3x normal labor costs and having
22      to pay overtime in many instances), but an even more profound impact resulted from
23      Stoer’s faulty project management. Stoer refused to take responsibility, instead demanding
24      that Benson “man-up” its labor. It later became clear that Stoer attempted to use this time
25      and labor crunch as an angle to get Benson off the Element project.
26                 308.   Case in point, early on in the Element project there was a problem with the
27      framing work (not performed by Benson, or NorCal for that matter) that substantially
28      delayed the construction. Particularly, there was a five-month standstill while Stoer tried

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  1     to acquire a framing permit. Once obtained, Stoer did not update or amend the construction
  2     schedule (upon information and belief, because it stood to incur contractual penalties under
  3     its Prime Contract with LD Milpitas).
  4                309.   Similarly, in response to a Stoer directive that Benson “man-up” on
  5     electrical, Benson hired nineteen (19) extra electricians, approximately doubling its labor
  6     on the job, and showed up to Element to perform only to have Stoer’s Chief Executive
  7
        Officer, Anderson, refuse access—telling Benson to send its labor to another job until
  8
        further notice. The next day, on or about July 27, 2020, Stoer purported to terminate the
  9
        low-voltage data communications, electric, and fire-alarm subcontracts. Such terminations
10
        were wrongful and in breach of the parties’ contractual agreements.
11
                   310.   On or about October 28, 2020, Shawn Benson and Phil Farber traveled to the
12
        Element project jobsite to meet with Ward and Phil Varni, on behalf of Stoer, regarding
13
        the unpaid billings owed to Benson for work performed and retention—$1.3 million since
14
        Stoer’s last payment in July 2020. At that meeting, Stoer’s Chief Operating Officer, Ward,
15
        informed Shawn Benson (a) that Stoer had no intention of paying Benson’s unpaid billings,
16
        (b) of Stoer’s intention to eliminate Benson from the Element project and replace Benson
17
18      with another subcontractor from whom Stoer could take more money for the subcontractor

19      work. At that meeting, Ward laughed in Shawn Benson’s face and told him that “we were

20      wondering when you were going to come out” and “how long you were going to work for

21      free.” Ward continued that Stoer had “no intention of ever paying you” and was “just trying
22      to get you to work.” In other words, Ward admitted that he, Anderson, BC Holding, and/or
23      Stoer breached their agreements with Benson and made material misrepresentations to
24      Benson to induce Benson into entering into the NorCal Operating Agreement, the Original
25      Subcontracts, and the New Subcontracts.
26                 311.   Within minutes of the conclusion of the meeting at the Element project, Phil
27      Varni, on behalf of Stoer, purported to terminate the HVAC, plumbing, and fire sprinkler
28      subcontracts via email. At the same time, Varni, on behalf of Stoer, demanded that Benson

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  1     vacate the job site within two (2) hours of receipt of the message. Such terminations were
  2     wrongful and in breach of the parties’ contractual agreements.
  3                312.   In response to the meeting at Stoer’s headquarters on October 28, 2020 and
  4     the revelation that Stoer had never intended to pay Benson for the unpaid billings despite
  5     its representations to the contrary, Benson justifiably pulled its employees off the Element
  6     project and ceased performing work.
  7
                   313.   Upon information and belief, Stoer subsequently replaced Benson with a
  8
        separate subcontractor or subcontractors with respect to the low-voltage data
  9
        communications, electric, fire-alarm, HVAC, plumbing, and fire sprinkler subcontracts.
10
        Failing to pay Benson for work performed prior to the wrongful termination of the
11
        subcontracts allowed Stoer to realize 100% of the value of the work performed by Benson.
12
                   314.   On or about October 30, 2020, Stoer filed an arbitration action against
13
        NorCal in California seeking disgorgement of amounts allegedly paid to NorCal that were
14
        actually paid to Benson.
15
                   315.   On or about February 11, 2021, BC Holdings sent a letter to Benson
16
        purporting to withdraw from NorCal as a member.
17
18                 316.   On or about June 16, 2021, NorCal filed Chapter 7 bankruptcy.

19                 317.   On or about August 17, 2021, Stoer filed a state-court action against Benson

20      and individuals—the original filing of this action.

21                 318.   On or about November 8, 2021, Defendants removed the state-court action
22      to the Northern District of California.
23                 319.   On or about December 13, 2021, Stoer filed a proof of claim in the NorCal
24      bankruptcy for the same claims Stoer makes against Benson in this action.
25                 320.   On or about March 9, 2022, the Northern District of California transferred
26      this case to the District of Arizona.
27
28

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  1                                      FIRST CAUSE OF ACTION
  2                 (Breach of Contract (the New Subcontracts) – Benson against Stoer)
  3                321.   Benson repeats and re-alleges each and every paragraph above as if fully set
  4     forth herein.
  5                322.   The New Subcontracts are each valid, binding, and enforceable contracts that
  6     are supported by consideration on both sides.
  7
                   323.   Pursuant to the New Plumbing Subcontract, Benson agreed to install
  8
        plumbing at the Element project pursuant to the scope of work referenced and fully
  9
        incorporated in the New Plumbing Subcontract.
10
                   324.   In consideration for Benson’s work under the New Plumbing Subcontract,
11
        Stoer agreed to pay Benson $2,500,000.
12
                   325.   Benson fully performed all the terms and conditions required of it under the
13
        New Plumbing Subcontract, except any that have been excused.
14
                   326.   Stoer breached the New Plumbing Subcontract by failing to pay Benson for
15
        the full amount of the work Benson performed pursuant to the New Plumbing Subcontract.
16
                   327.   Stoer’s breach of the New Plumbing Subcontract substantially caused
17
18      Benson harm. Specifically, Benson suffered monetary damages in an amount to be

19      determined at trial. Further, Benson suffered damage to its reputation due to Stoer’s breach

20      of the New Plumbing Subcontract.

21                 328.   Pursuant to the New HVAC Subcontract, Benson agreed to install the HVAC
22      system at the Element project pursuant to the scope of work referenced and fully
23      incorporated in the New Plumbing Subcontract.
24                 329.   In consideration for Benson’s work under the New HVAC Subcontract, Stoer
25      agreed to pay Benson $2,100,000.
26                 330.   Benson fully performed all the terms and conditions required of it under the
27      New HVAC Subcontract, except any that have been excused.
28

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  1                331.   Stoer breached the New HVAC Subcontract by failing to pay Benson for the
  2     full amount of the work Benson performed pursuant to the New HVAC Subcontract.
  3                332.   Stoer’s breach of the New HVAC Subcontract substantially caused Benson
  4     harm. Specifically, Benson suffered monetary damages in an amount to be determined at
  5     trial. Further, Benson suffered damage to its reputation due to Stoer’s breach of the New
  6     HVAC Subcontract.
  7
                   333.   Pursuant to the New Fire Sprinkler Subcontract, Benson agreed to install the
  8
        fire sprinkler and/or fire suppression system at the Element project pursuant to the scope
  9
        of work referenced and fully incorporated in the New Fire Sprinkler Subcontract.
10
                   334.   In consideration for Benson’s work under the New Fire Sprinkler
11
        Subcontract, Stoer agreed to pay Benson $300,000.
12
                   335.   Benson fully performed all the terms and conditions required of it under the
13
        New Fire Sprinkler Subcontract, except any that have been excused.
14
                   336.   Stoer breached the New Fire Sprinkler Subcontract by failing to pay Benson
15
        for the full amount of the work Benson performed pursuant to the New Fire Sprinkler
16
        Subcontract.
17
18                 337.   Stoer’s breach of the New Fire Sprinkler Subcontract substantially caused

19      Benson harm. Specifically, Benson suffered monetary damages in an amount to be

20      determined at trial. Further, Benson suffered damage to its reputation due to Stoer’s breach

21      of the New Fire Sprinkler Subcontract.
22                 338.   Pursuant to the New Fire Alarm Subcontract, Benson agreed to install a fire
23      alarm system at the Element project pursuant to the scope of work referenced and fully
24      incorporated in the New Fire Alarm Subcontract.
25                 339.   In consideration for Benson’s work under the New Fire Alarm Subcontract,
26      Stoer agreed to pay Benson $200,000.
27                 340.   Benson fully performed all the terms and conditions required of it under the
28      New Fire Alarm Subcontract, except any that have been excused.

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  1                341.   Stoer breached the New Fire Alarm Subcontract by failing to pay Benson for
  2     the full amount of the work Benson performed pursuant to the New Fire Alarm
  3     Subcontract.
  4                342.   Stoer’s breach of the New Fire Alarm Subcontract substantially caused
  5     Benson harm. Specifically, Benson suffered monetary damages in an amount to be
  6     determined at trial. Further, Benson suffered damage to its reputation due to Stoer’s breach
  7
        of the New Fire Alarm Subcontract.
  8
                   343.   Pursuant to the New LV Subcontract, Benson agreed to install a low voltage
  9
        data communication system at the Element project pursuant to the scope of work referenced
10
        and fully incorporated in the New LV Subcontract.
11
                   344.   In consideration for Benson’s work under the New LV Subcontract, Stoer
12
        agreed to pay Benson $200,000.
13
                   345.   Benson fully performed all the terms and conditions required of it under the
14
        New LV Subcontract, except any that have been excused.
15
                   346.   Stoer breached the New LV Subcontract by failing to pay Benson for the full
16
        amount of the work Benson performed pursuant to the New LV Subcontract.
17
18                 347.   Stoer’s breach of the New LV Subcontract substantially caused Benson

19      harm. Specifically, Benson suffered monetary damages in an amount to be determined at

20      trial. Further, Benson suffered damage to its reputation due to Stoer’s breach of the New

21      LV Subcontract.
22                 348.   Pursuant to the New Electrical Subcontract, Benson agreed to install an
23      electrical system at the Element project pursuant to the scope of work referenced and fully
24      incorporated in the New Electrical Subcontract.
25                 349.   In consideration for Benson’s work under the New Electrical Subcontract,
26      Stoer agreed to pay Benson $2,950,000.
27                 350.   Benson fully performed all the terms and conditions required of it under the
28      New Electrical Subcontract, except any that have been excused.

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  1                351.   Stoer breached the New Electrical Subcontract by failing to pay Benson for
  2     the full amount of the work Benson performed pursuant to the New Electrical Subcontract.
  3                352.   Stoer’s breach of the New Electrical Subcontract substantially caused
  4     Benson harm. Specifically, Benson suffered monetary damages in an amount to be
  5     determined at trial. Further, Benson suffered damage to its reputation due to Stoer’s breach
  6     of the New Electrical Subcontract.
  7
                   353.   In sum, Benson fully performed its obligations under each of the New
  8
        Subcontracts, and all conditions precedent to each New Subcontract have been satisfied.
  9
        Stoer, however, breached each of the New Subcontracts by failing to pay Benson for work
10
        performed on the Element project and by wrongfully terminating the New Subcontracts.
11
        As a result of Stoer’s breaches and wrongful terminations of the New Subcontracts, Benson
12
        has suffered substantial damages. Specifically, Benson has suffered monetary damages and
13
        reputational damages due to Stoer’s breaches of the New Subcontracts in an amount to be
14
        determined at trial.
15
                                         SECOND CAUSE OF ACTION
16
                                (Promissory Estoppel – Benson against Stoer)
17
18                 354.   Benson repeats and re-alleges each and every paragraph above as if fully set

19      forth herein.

20                 355.   Benson asserts this cause of action as an alternative to its First Cause of

21      Action for Breach of the New Subcontracts.
22                 356.   Stoer promised to pay Benson for its work on the Element project on the
23      same terms provided in the Original Subcontracts and New Subcontracts. More
24      specifically, Stoer promised Benson that it would pay Benson
25                        a.    $2,500,000 to install plumbing at the Element project pursuant to the
26                        scope of work referenced and fully incorporated in the New Plumbing
27                        Subcontract;
28

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  1                       b.     $2,100,000 to install the HVAC system at the Element project
  2                       pursuant to the scope of work referenced and fully incorporated in the New
  3                       Plumbing Subcontract;
  4                       c.     $300,000 to install the fire sprinkler and/or fire suppression system at
  5                       the Element project pursuant to the scope of work referenced and fully
  6                       incorporated in the New Fire Sprinkler Subcontract;
  7
                          d.     $200,000 to install a fire alarm system at the Element project pursuant
  8
                          to the scope of work referenced and fully incorporated in the New Fire Alarm
  9
                          Subcontract;
10
                          e.     $200,000 to install a low voltage data communication system at the
11
                          Element project pursuant to the scope of work referenced and fully
12
                          incorporated in the New LV Subcontract; and
13
                          f.     $2,950,000 to install an electrical system at the Element project
14
                          pursuant to the scope of work referenced and fully incorporated in the New
15
                          Electrical Subcontract.
16
                   357.   Benson justifiably relied on Stoer’s promises to pay Benson for the work
17
18      Benson performed on the Element project.

19                 358.   Benson’s reliance on Stoer’s promises to pay Benson for the work Benson

20      performed on the Element project was both reasonable and foreseeable based on the

21      parties’ agreement and course of conduct.
22                 359.   Relying on Stoer’s promises to pay Benson for the work it performed on the
23      Element project, Benson provided work on the Element project, including work relating to
24      the installation of (a) plumbing, (b) an HVAC system; (c) a fire sprinkler/fire suppression
25      system; (d) a fire alarm system; (e) a low voltage data communication system; and (f) an
26      electrical system.
27                 360.   Stoer failed to pay Benson for work Benson performed on the Element
28      project as promised.

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  1                361.   Benson was injured by its reliance upon Stoer. Specifically, Benson
  2     performed work on the Element project for which it has not been compensated by Stoer.
  3     The full amount of monetary damages Benson has suffered will be determined at trial.
  4                362.   In sum, Stoer promised to pay Benson for the work Benson performed on the
  5     Element project as detailed above. Benson justifiably relied on Stoer’s promises to pay
  6     Benson for the work Benson performed on the Element project. Benson’s reliance was
  7
        reasonable and foreseeable. Relying on Stoer’s promises to pay Benson work it performed
  8
        on the Element project, Benson fully performed all of the obligations required of it, except
  9
        any that have been excused. Stoer, however, has failed to pay Benson for work Benson
10
        performed on the Element project. As a result of Stoer’s failure to pay Benson for the work
11
        it performed on the Element project, Benson has suffered substantial damages.
12
        Specifically, Benson has suffered monetary damages in an amount to be determined at trial.
13
                                         THIRD CAUSE OF ACTION
14
                                 (Unjust Enrichment – Benson against Stoer)
15
                   363.   Benson repeats and re-alleges each and every paragraph above as if fully set
16
        forth herein.
17
18                 364.   Benson asserts this cause of action as an alternative to its First Cause of

19      Action for Breach of the New Subcontracts.

20                 365.   Benson provided Stoer with valuable benefits, including construction

21      services, labor, material, and other services required to construct Element. More
22      specifically, Benson installed plumbing, an HVAC system, fire sprinklers and/or a fire
23      suppression system, fire alarm, low voltage data communication system, and electrical
24      system at the Element project as requested by Stoer.
25                 366.   Stoer accepted these services and materials, and had reasonable notice that
26      Benson expected compensation for the same. Indeed, Stoer made numerous promises to
27      Benson to pay Benson for its services and materials.
28

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  1                367.   Despite Stoer’s promises to pay Benson for the services and materials it
  2     provided on the Element project, Stoer has not paid Benson the full value of the services
  3     and materials Benson provided. Nonetheless, Stoer has unjustly retained the benefits of the
  4     services and materials Benson provided at the expense of Benson.
  5
                   368.   Benson asserts a claim for unjust enrichment against Stoer in an amount to
  6
        be proven at trial for the reasonable value of the services and materials that Benson
  7
        provided to Stoer for which Benson has not been compensated.
  8
                                        FOURTH CAUSE OF ACTION
  9
            (Quantum Meruit/Breach of Implied Contract-in-Fact – Benson against Stoer)
10
                   369.   Benson repeats and re-alleges each and every paragraph above as if fully set
11
        forth herein.
12
                   370.   Benson asserts this cause of action as an alternative to its First Cause of
13
        Action for Breach of the New Subcontracts.
14
                   371.   Benson provided Stoer with valuable benefits, including construction
15
        services, labor, material, and other services required to construct Element, pursuant to an
16
        express or implied request for the same. More specifically, Benson installed plumbing, an
17
18      HVAC system, fire sprinklers and/or a fire suppression system, fire alarm, low voltage data

19      communication system, and electrical system at the Element project as requested by Stoer.

20                 372.   The valuable benefits and services Benson provided were intended to and did

21      benefit Stoer. The valuable benefits and services were rendered under the understanding
22      and expectation that Stoer would compensate Benson as promised by Stoer.
23                 373.   Stoer accepted these benefits and services, and had reasonable notice that
24      Benson expected compensation for the same.
25                 374.   Stoer has retained these benefits at the expense of Benson.
26                 375.   Benson asserts a quantum meruit/breach of implied contract-in-fact claim
27      against Stoer in an amount to be proven at trial for the reasonable value of the benefits and
28      services that Benson provided to Stoer for which Benson has not been compensated.

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  1                                      FIFTH CAUSE OF ACTION
  2
                   (Breach of Implied Covenant of Good Faith and Fair Dealing (the New
  3                                Subcontracts) – Benson against Stoer)
  4                376.   Benson repeats and re-alleges each and every paragraph above as if fully set
  5     forth herein.
  6                377.   The New Subcontracts are each valid, binding, and enforceable contracts that
  7     are supported by consideration on both sides.
  8                378.   Pursuant to the New Plumbing Subcontract, Benson agreed to install
  9     plumbing at the Element project pursuant to the scope of work referenced and fully
10      incorporated in the New Plumbing Subcontract.
11                 379.   In consideration for Benson’s work under the New Plumbing Subcontract,
12      Stoer agreed to pay Benson $2,500,000.
13
                   380.   Benson fully performed all the terms and conditions required of it under the
14
        New Plumbing Subcontract, except any that have been excused.
15
                   381.   Stoer breached the New Plumbing Subcontract by failing to pay Benson for
16
        the full amount of the work Benson performed pursuant to the New Plumbing Subcontract.
17
                   382.   Stoer unfairly interfered with Benson’s right to receive the benefits of the
18
        New Plumbing Subcontract.
19
                   383.   Stoer’s breach of the New Plumbing Subcontract substantially caused
20
        Benson harm. Specifically, Benson suffered monetary damages in an amount to be
21
        determined at trial. Further, Benson suffered damage to its reputation due to Stoer’s breach
22
        of the New Plumbing Subcontract.
23
24                 384.   Pursuant to the New HVAC Subcontract, Benson agreed to install the HVAC

25      system at the Element project pursuant to the scope of work referenced and fully

26      incorporated in the New Plumbing Subcontract.

27                 385.   In consideration for Benson’s work under the New HVAC Subcontract, Stoer
28      agreed to pay Benson $2,100,000.


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  1                386.   Benson fully performed all the terms and conditions required of it under the
  2     New HVAC Subcontract, except any that have been excused.
  3                387.   Stoer breached the New HVAC Subcontract by failing to pay Benson for the
  4     full amount of the work Benson performed pursuant to the New HVAC Subcontract.
  5                388.   Stoer unfairly interfered with Benson’s right to receive the benefits of the
  6     New HVAC Subcontract.
  7
                   389.   Stoer’s breach of the New HVAC Subcontract substantially caused Benson
  8
        harm. Specifically, Benson suffered monetary damages in an amount to be determined at
  9
        trial. Further, Benson suffered damage to its reputation due to Stoer’s breach of the New
10
        HVAC Subcontract.
11
                   390.   Pursuant to the New Fire Sprinkler Subcontract, Benson agreed to install the
12
        fire sprinkler and/or fire suppression system at the Element project pursuant to the scope
13
        of work referenced and fully incorporated in the New Fire Sprinkler Subcontract.
14
                   391.   In consideration for Benson’s work under the New Fire Sprinkler
15
        Subcontract, Stoer agreed to pay Benson $300,000.
16
                   392.   Benson fully performed all the terms and conditions required of it under the
17
18      New Fire Sprinkler Subcontract, except any that have been excused.

19                 393.   Stoer breached the New Fire Sprinkler Subcontract by failing to pay Benson

20      for the full amount of the work Benson performed pursuant to the New Fire Sprinkler

21      Subcontract.
22                 394.   Stoer unfairly interfered with Benson’s right to receive the benefits of the
23      New Fire Sprinkler Subcontract.
24                 395.   Stoer’s breach of the New Fire Sprinkler Subcontract substantially caused
25      Benson harm. Specifically, Benson suffered monetary damages in an amount to be
26      determined at trial. Further, Benson suffered damage to its reputation due to Stoer’s breach
27      of the New Fire Sprinkler Subcontract.
28

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  1                396.   Pursuant to the New Fire Alarm Subcontract, Benson agreed to install a fire
  2     alarm system at the Element project pursuant to the scope of work referenced and fully
  3     incorporated in the New Fire Alarm Subcontract.
  4                397.   In consideration for Benson’s work under the New Fire Alarm Subcontract,
  5     Stoer agreed to pay Benson $200,000.
  6                398.   Benson fully performed all the terms and conditions required of it under the
  7
        New Fire Alarm Subcontract, except any that have been excused.
  8
                   399.   Stoer breached the New Fire Alarm Subcontract by failing to pay Benson for
  9
        the full amount of the work Benson performed pursuant to the New Fire Alarm
10
        Subcontract.
11
                   400.   Stoer unfairly interfered with Benson’s right to receive the benefits of the
12
        New Fire Alarm Subcontract.
13
                   401.   Stoer’s breach of the New Fire Alarm Subcontract substantially caused
14
        Benson harm. Specifically, Benson suffered monetary damages in an amount to be
15
        determined at trial. Further, Benson suffered damage to its reputation due to Stoer’s breach
16
        of the New Fire Alarm Subcontract.
17
18                 402.   Pursuant to the New LV Subcontract, Benson agreed to install a low voltage

19      data communication system at the Element project pursuant to the scope of work referenced

20      and fully incorporated in the New LV Subcontract.

21                 403.   In consideration for Benson’s work under the New LV Subcontract, Stoer
22      agreed to pay Benson $200,000.
23                 404.   Benson fully performed all the terms and conditions required of it under the
24      New LV Subcontract, except any that have been excused.
25                 405.   Stoer breached the New LV Subcontract by failing to pay Benson for the full
26      amount of the work Benson performed pursuant to the New LV Subcontract.
27                 406.   Stoer unfairly interfered with Benson’s right to receive the benefits of the
28      New LV Subcontract.

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  1                407.   Stoer’s breach of the New LV Subcontract substantially caused Benson
  2     harm. Specifically, Benson suffered monetary damages in an amount to be determined at
  3     trial. Further, Benson suffered damage to its reputation due to Stoer’s breach of the New
  4     LV Subcontract.
  5                408.   Pursuant to the New Electrical Subcontract, Benson agreed to install an
  6     electrical system at the Element project pursuant to the scope of work referenced and fully
  7
        incorporated in the New Electrical Subcontract.
  8
                   409.   In consideration for Benson’s work under the New Electrical Subcontract,
  9
        Stoer agreed to pay Benson $2,950,000.
10
                   410.   Benson fully performed all the terms and conditions required of it under the
11
        New Electrical Subcontract, except any that have been excused.
12
                   411.   Stoer breached the New Electrical Subcontract by failing to pay Benson for
13
        the full amount of the work Benson performed pursuant to the New Electrical Subcontract.
14
                   412.   Stoer unfairly interfered with Benson’s right to receive the benefits of the
15
        New Electrical Subcontract.
16
                   413.   Stoer’s breach of the New Electrical Subcontract substantially caused
17
18      Benson harm. Specifically, Benson suffered monetary damages in an amount to be

19      determined at trial. Further, Benson suffered damage to its reputation due to Stoer’s breach

20      of the New Electrical Subcontract.

21                 414.   In sum, Benson fully performed its obligations under each of the New
22      Subcontracts, and all conditions precedent to each New Subcontract have been satisfied.
23      Stoer, however, breached each of the New Subcontracts by failing to pay Benson for work
24      performed on the Element project and by wrongfully terminating the New Subcontracts.
25      As a result of Stoer’s breaches and wrongful terminations of the New Subcontracts, Benson
26      has suffered substantial damages. Specifically, Benson has suffered monetary damages and
27      reputational damages due to Stoer’s breaches of the New Subcontracts in an amount to be
28      determined at trial.

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  1                                      SIXTH CAUSE OF ACTION
  2                            (Declaratory Judgment – Benson against Stoer)
  3                415.   Benson repeats and re-alleges each and every paragraph above as if fully set
  4     forth herein.
  5                416.   Stoer entered into the Original Subcontracts with NorCal and thereafter
  6     entered into the New Subcontracts with Benson covering the exact same work, thereby
  7
        abandoning and replacing the Original Subcontracts.
  8
                   417.   During the course of the Element project, all of the work under the New
  9
        Subcontracts was performed by Benson. Benson issued the invoices for the work and Stoer
10
        made payments to Benson for the work.
11
                   418.   Anderson, as President & CEO of Stoer, has verified under oath that the
12
        Element subcontracts were with Benson—not NorCal.
13
                   419.   Stoer now claims that the work performed on the Element project by Benson
14
        was pursuant to the Original Subcontracts.
15
                   420.   An actual controversy exists concerning the legal rights and duties of
16
        Benson.
17
18                 421.   Pursuant to 28 U.S. Code § 2201 and California Civil Code Section 1060,

19      Benson seeks a declaration from this Court that the work performed by Benson on the

20      Element project was pursuant to the New Subcontracts.

21                 422.   Declaratory judgment is necessary to determine what contract controlled the
22      relationship between Benson and Stoer during the Element project.
23                 423.   There is no adequate alternative remedy available to the parties in this
24      instance, making a declaratory judgment both necessary and proper.
25
26
27
28

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  1                                    SEVENTH CAUSE OF ACTION
  2
              (Breach of Contract (the NorCal Operating Agreement) - Benson against BC
  3                             Holding, Stoer, Anderson, and Ward)
  4                424.   Benson repeats and re-alleges each and every paragraph above as if fully set
  5     forth herein.
  6                425.   The NorCal Operating Agreement is a valid, binding, and enforceable
  7     contract that is supported by consideration on both sides.
  8                426.   Benson fully performed its obligations under the NorCal Operating
  9     Agreement, except any that were excused, and all conditions precedent to the NorCal
10      Operating Agreement have been satisfied.
11                 427.   Pursuant to the NorCal Operating Agreement, BC Holding, through Ward
12      and Anderson and on behalf of Stoer, agreed to capitalize NorCal and fund its operations.
13
                   428.   BC Holding, acting at the direction of Ward and Anderson and on behalf of
14
        Stoer, breached the NorCal Operating Agreement by failing to properly capitalize NorCal
15
        and fund its operations.
16
                   429.   Benson has been damaged as a result of BC Holding’s breach. Specifically,
17
        Benson was required to fund the operations of NorCal by itself, causing Benson to suffer
18
        monetary damages in an amount to be proven at trial.
19
                   430.   Benson is entitled to rescission, restitution, and compensatory damages in an
20
        amount to be determined at trial to make it whole.
21
                   431.   At all relevant times, BC Holding was the alter ego of Stoer, Anderson, and
22
        Ward. As such, Stoer, Anderson, and/or Ward are liable for BC Holding’s conduct.
23
24                                      EIGHTH CAUSE OF ACTION

25         (Promissory Estoppel – Benson against BC Holding, Stoer, Anderson, and Ward)
26                 432.   Benson repeats and re-alleges each and every paragraph above as if fully set
27      forth herein.
28

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  1                433.   Benson asserts this cause of action as an alternative to its Seventh Cause of
  2     Action for Breach of the NorCal Operating Agreement.
  3                434.   BC Holding, acting at the direction of Ward and Anderson and on behalf of
  4     Stoer, promised to create NorCal as a joint venture with Benson, capitalize NorCal, and
  5     fund its operations.
  6                435.   Benson justifiably relied on BC Holding’s promises to create NorCal as a
  7
        joint venture, capitalize NorCal, and fund its operations.
  8
                   436.   Benson’s reliance on BC Holding’s promises to create the NorCal joint
  9
        venture, capitalize NorCal, and fund its operations was both reasonable and foreseeable
10
        based on the parties’ agreement and course of conduct.
11
                   437.   Relying on BC Holding’s promises, Benson undertook work on the Element
12
        project and provided the funds necessary to capitalize and operate NorCal when BC
13
        Holding failed to do so.
14
                   438.   BC Holding, acting at the direction of Ward and Anderson and on behalf of
15
        Stoer, failed to pursue the joint venture and also failed to capitalize NorCal or provide the
16
        funds necessary to operate the company.
17
18                 439.   Benson was injured by its reliance upon BC Holding’s promises to create and

19      pursue the joint venture, capitalize NorCal, and fund its operations. Specifically, Benson

20      was required to capitalize NorCal and fund its operations. The full amount of monetary

21      damages Benson has suffered will be determined at trial.
22                 440.   At all relevant times, BC Holding was the alter ego of Stoer, Anderson, and
23      Ward. As such, Stoer, Anderson, and/or Ward are liable for BC Holding’s conduct.
24                 441.   In sum, BC Holding, acting at the direction of Ward and Anderson and on
25      behalf of Stoer, promised to capitalize NorCal and fund its operations. Benson justifiably
26      relied on BC Holding’s promises to capitalize NorCal and fund its operations. Benson’s
27      reliance was reasonable and foreseeable. Relying on BC Holding’s promises to capitalize
28      NorCal and fund its operations, Benson undertook work on the Element project and

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  1     provided the funds necessary to capitalize and operate NorCal when BC Holding failed to
  2     do so. BC Holding, however, failed to pursue projects as part of the joint venture, capitalize
  3     NorCal or fund its operations. As a result of BC Holding’s failure to capitalize NorCal and
  4     fund its operations, Benson has suffered substantial damages. Specifically, Benson has
  5     suffered monetary damages in an amount to be determined at trial.
  6                                      NINTH CAUSE OF ACTION
  7
             (Breach of Implied Covenant of Good Faith and Fair Dealing (the NorCal
  8       Operating Agreement) – Benson against BC Holding, Stoer, Anderson, and Ward)
  9                442.   Benson repeats and re-alleges each and every paragraph above as if fully set
10      forth herein.
11                 443.   The NorCal Operating Agreement is a valid, binding, and enforceable
12      contract that is supported by consideration on both sides.
13
                   444.   Benson fully performed its obligations under the NorCal Operating
14
        Agreement, except any that were excused, and all conditions precedent to the NorCal
15
        Operating Agreement have been satisfied.
16
                   445.   Pursuant to the NorCal Operating Agreement, BC Holding, through Ward
17
        and Anderson and on behalf of Stoer, agreed to capitalize NorCal and fund its operations.
18
                   446.   BC Holding, acting at the direction of Ward and Anderson and on behalf of
19
        Stoer, breached the NorCal Operating Agreement by failing to properly capitalize NorCal
20
        and fund its operations.
21
                   447.   BC Holding unfairly interfered with Benson’s right to receive the benefits of
22
        the NorCal Operating Agreement.
23
24                 448.   Benson has been damaged as a result of BC Holding’s breach. Specifically,

25      Benson was required to fund the operations of NorCal by itself, causing Benson to suffer

26      monetary damages in an amount to be proven at trial.

27                 449.   Benson is entitled to rescission, restitution, and compensatory damages in an
28      amount to be determined at trial to make it whole.


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  1                450.   At all relevant times, BC Holding was the alter ego of Stoer, Anderson, and
  2     Ward. As such, Stoer, Anderson, and/or Ward are liable for BC Holding’s conduct.
  3                                      TENTH CAUSE OF ACTION
  4
             (Breach of Fiduciary Duty - Benson against BC Holding, Stoer, Anderson, and
  5                                            Ward)
  6                451.   Benson repeats and re-alleges each and every paragraph above as if fully set
  7     forth herein.
  8                452.   As a member of NorCal pursuant to the NorCal Operating Agreement, BC
  9     Holding owed fiduciary duties to Benson, including a duty of loyalty, a duty of good faith,
10      and a duty of care.
11                 453.   By failing to capitalize or fund NorCal, breaching contracts with NorCal, and
12      usurping NorCal business opportunities, BC Holding breached its fiduciary duties owed to
13
        Benson.
14
                   454.   As a direct and proximate result of BC Holding’s actions, Benson has
15
        suffered damages in an amount to be proven at trial. These damages include monetary
16
        damages and reputational damages.
17
                   455.   On information and belief, BC Holding’s actions were intentional, willful,
18
        outrageous, malicious, and fraudulent, entitling Benson to punitive damages.
19
                   456.   At all relevant times, BC Holding was the alter ego of Stoer, Anderson, and
20
        Ward. As such, Stoer, Anderson, and Ward are liable for BC Holding’s conduct.
21
                                      ELEVENTH CAUSE OF ACTION
22
23                 (Fraud – Defendants against Anderson, Ward, BC Holding, and Stoer)
24                 457.   Defendants repeat and re-allege each and every paragraph above as if fully

25      set forth herein.
26                 458.   Stoer, BC Holding, Anderson, and Ward made numerous misrepresentations
27      to Defendants throughout the course of the Element project.
28

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  1                459.   Stoer, BC Holding, Anderson, and Ward represented to Defendants that the
  2     NorCal Plan was an opportunity to split profits on multiple different potential jobs, all the
  3     while knowing that this was not the case. Rather, the goal of Stoer, BC Holding, Anderson,
  4     and Ward was to use the Benson name and experience to funnel work to Stoer, induce
  5     Benson to commit to the Element project, and bond it where they otherwise could not.
  6     Stoer, BC Holding, Anderson, and Ward later admitted that they never had any intention
  7
        of entering into a business relationship with Benson, pursuing other job opportunities with
  8
        Benson, or compensating Benson for the work Benson performed on the Element project.
  9
                   460.   As part of the NorCal Plan, BC Holding, Anderson, and Ward represented to
10
        Defendants that BC Holding, acting at the direction of Ward and Anderson and on behalf
11
        of Stoer, would contribute the funds necessary to capitalize and operate NorCal.
12
                   461.   Also in furtherance of the NorCal Plan, Stoer, Anderson, and Ward
13
        represented to Defendants that (a) Stoer would compensate Benson for the work Benson
14
        performed at the Element project; and (b) the New Subcontracts were the operative
15
        agreements between the parties.
16
                   462.   Stoer, BC Holding, Anderson, and Ward knew that Defendants (a) were
17
18      relying on BC Holding to provide the funds needed to capitalize and operate NorCal;

19      (b) understood the New Subcontracts to be the operative agreements between Benson and

20      Stoer; (c) performed work on the Element project pursuant to the New Subcontract; and

21      (d) expected to be paid for the work Benson performed on the Element project.
22                 463.   Unbeknownst to Defendants, however, BC Holding, Anderson, and Ward
23      never intended to have BC Holding fund NorCal or pursue projects with Defendants.
24                 464.   Defendants were also unaware that Stoer, Anderson, and Ward never
25      intended to pay Benson for the work Benson performed on the Element project or that
26      Stoer, Anderson, and Ward would subsequently claim that the work was performed by
27      NorCal in an effort to deprive Benson of the compensation it is owed.
28

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  1                465.   On information and belief, Stoer, BC Holding, Ward, and Anderson’s plan
  2     all along was to devise a scheme by which they would (a) claim Benson is not entitled to
  3     payment for the work it performed on the Element project because the work was allegedly
  4     performed by NorCal, an unlicensed California contractor; and (b) trade on Benson’s good
  5     name to usurp projects for Stoer’s benefit.
  6                466.   BC Holding, Anderson, and Ward’s representations that BC Holding would
  7
        contribute the funds necessary to capitalize and operate NorCal were false. Rather, BC
  8
        Holding, Anderson, and Ward intended to take advantage of Defendants.
  9
                   467.   Stoer, Anderson, Ward’s representations that the New Subcontracts were the
10
        operative agreements between the parties and that they would pay Benson for the work it
11
        performed on the Element project were false.
12
                   468.   Stoer, BC Holding, Anderson, and Ward made these representations with
13
        knowledge of their falsity.
14
                   469.   Stoer, BC Holding, Anderson, and Ward made these representations with an
15
        intent to deceive Defendants.
16
                   470.   Defendants relied on Stoer, BC Holding, Anderson, and Ward’s
17
18      representations, contributing significant funds to capitalize and operate NorCal and

19      performing millions of dollars of work on the Element project.

20                 471.   Stoer, BC Holding, Anderson, and Ward’s representations to Defendants

21      were intended to take advantage of Defendants—obtaining work for free, getting bonds for
22      a project that they could not otherwise obtain, and, now, trying to recover even those
23      amounts they actually paid to a licensed contractor (Benson).
24                 472.   As a direct and proximate result of Stoer, BC Holdings, Anderson, and
25      Ward’s representations and actions, Defendants have suffered damages in an amount to be
26      proven at trial. These damages include monetary damages and reputational damages.
27                 473.   At all relevant times, BC Holding, Ward, and Anderson were the alter egos
28      of Stoer.

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  1                                      TWELFTH CAUSE OF ACTION
  2
              (Conspiracy to Induce Breach of the New Subcontracts and Commit Fraud –
  3                  Defendants against Stoer, BC Holding, Anderson, and Ward)
  4                474.   Defendants repeat and re-allege each and every paragraph above as if fully
  5     set forth herein.
  6                475.   On information and belief, Stoer, BC Holding, Anderson, and Ward
  7     conspired to commit defraud Defendants and deprive Benson of the benefits owed it for
  8     the work it performed on the Element project.
  9                476.   On information and belief, Stoer, BC Holding, Anderson, and Ward
10      intentionally agreed to join in the scheme to defraud Defendants and deprive Benson of the
11      benefits owed under the New Subcontracts.
12                 477.   In furtherance of this conspiracy, Stoer, BC Holding, Anderson, and/or Ward
13
                          a.     represented to Benson that Stoer would pay Benson for the work
14
                          Benson performed on the Element project even though Stoer never intended
15
                          to pay Benson the full value of the work Benson performed on the Element
16
                          project; and
17
                          b.     created BC Holding to induce Benson to enter into the NorCal
18
                          Operating Agreement and eventually caused Benson to capitalize NorCal and
19
                          fund its operations.
20
                   478.   Stoer, BC Holding, Anderson, and Ward actually did defraud Defendants.
21
                   479.   As a legal and proximate result of the wrongful acts performed by Stoer, BC
22
        Holding, Anderson, and Ward, pursuant to the conspiracy, Defendants have suffered
23
24      damages in an amount which will be proven at trial.

25                 480.   In committing the acts alleged herein pursuant to the conspiracy, Stoer, BC

26      Holding, Anderson, and Ward acted willfully and with intent to cause injury to Defendants.

27      As a result, Defendants are entitled to an award of punitive and exemplary damages in an
28      amount to be determined at trial.


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  1                481.   At all relevant times, BC Holding, Anderson, and Ward were the alter egos
  2     of Stoer and BC Holding.
  3                             IV.    ATTORNEYS’ FEES AND EXPENSES
  4                482.   Benson repeats and re-alleges each and every paragraph above as if fully set
  5     forth herein.
  6                483.   Pursuant to California Civil Procedure Code § 1021 and California Civil
  7
        Code § 1717, Benson is entitled to its reasonable attorney’s fees and costs from BC Holding
  8
        based on the NorCal Operating Agreement and from Stoer based on the New Subcontracts,
  9
        or, alternatively the Original Subcontracts.
10
                                        V.     PRAYER FOR RELIEF
11
                   WHEREFORE, Defendants prays for relief as follows:
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                   1.     That Plaintiff takes nothing by the First Amended Complaint;
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                   2.     For judgment in favor of Defendants and against Plaintiff dismissing
14
        Plaintiff’s claims in their entirety, with prejudice;
15
                   3.     For judgment in favor of Benson on all claims for relief;
16
                   4.     For compensatory damages, lost profits, restitution, and/or rescission on all
17
18      claims by Benson for which such damages are authorized;

19                 5.     For punitive and exemplary damages on all claims by Benson for which such

20      damages are authorized;

21                 6.     For a declaration that that the work performed by Benson on the Element
22      project was pursuant to the New Subcontracts.
23                 7.     For Defendants’ and Benson’s attorney’s fees incurred herein;
24                 8.     For Defendants’ costs of suit incurred herein;
25                 9.     For pre-judgment and post-judgment interest at the maximum rate allowable
26      under law; and
27                 10.    For such other and further relief as the Court may deem just and proper.
28

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  1     DATED this 13th day of April, 2023.
  2
  3                                           FOLEY & LARDNER LLP
  4                                           By: /s/ Mark C. Moore
  5                                               Mark C. Moore (admitted pro hac vice)

  6                                           Holland N. O’Neil (admitted pro hac vice)
                                              Todd A. Murray (admitted pro hac vice)
  7
                                              Andrew A. Howell (admitted pro hac vice)
  8                                           FOLEY & LARDNER LLP
  9
                                              and
10
                                              Robert M. Charles, Jr.
11                                            LEWIS ROCA ROTHGERBER CHRISTIE LLP
12
                                              Attorneys for Defendants
13                                            BENSON SECURITY SYSTEMS, INC.;
14                                            SHAWN BENSON; ERIC BENSON; AND
                                              CORY BENSON
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  1                                  CERTIFICATE OF SERVICE
  2
              I certify that on this 13th day of April, 2023, I electronically transmitted the attached
  3     document to the Clerk’s office using the CM/ECF System for filing and transmittal of a
  4     Notice of Electronic Filing to the following registrants:

  5            Further, on the same date I served the attached document to counsel by United States
        Mail, postage prepaid, addressed as follows:
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  7     Dennis Scott Zell
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13
14      /s/ Janelle C. Harrison
        Janelle C. Harrison, Paralegal
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        Foley & Lardner LLP
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